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        Zakarin Declaration
             Exhibit 1
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   Robert Kohn Deposition
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                                                                   Page 1

 1
 2                 UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK
 3      ---------------------------------x
        TWELVE SIXTY LLC, ARON
 4      MARDEROSIAN and ROBERT
        MARDEROSIAN,
 5
                              Plaintiffs,
 6
                    -against-
 7
                                                 Civil Action No.:
 8                                               1:17-CV-01479-PAC
 9
        EXTREME MUSIC LIBRARY LIMITED,
10      a division of Sony/ATV Music
        Publishing; EXTREME MUSIC
11      LIMITED; VIACOM INTERNATIONAL
        INC., NEW CREATIVE MIX INC.,
12      HYPE PRODUCTION MUSIC,
13                        Defendants.
14      ---------------------------------x
15                       November 1, 2018
16                       1:00 p.m.
17
18           Deposition of ROBERT H. KOHN, taken by
19      Defendants, pursuant to Notice, held at the law
20      offices of Pryor Cashman, LLP, 7 Times Square, New
21      York, New York, before Judith Castore, a Certified
22      Livenote Reporter and Notary Public of the State of
23      New York.
24
25

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                                                              Page 2                                                         Page 4
 1
 2       APPEARANCES
                                                                        1                    KOHN
 3   ON BEHALF OF PLAINTIFFS                                            2   R-O-B-E-R-T H. K-O-H-N,
       MARDEROSIAN & COHEN, PC
 4     1260 Fulton Street                                               3           Having been duly sworn by a Notary Public
       Fresno, California 93721
 5     559-441-7991
                                                                        4   within and for the State of New York, stated an
       BY: MICK MARDEROSIAN, ESQ.                                       5   address as 140 East 28th Street, Apartment 5-G, New
 6        mick@mcc-legal.com
          HEATHER COHEN, ESQ.                                           6   York, New York 10016, was examined and testified as
 7
                                                                        7   follows:
 8   ON BEHALF OF DEFENDANTS - Extreme Music Library
     Limited, Extreme Music Limited                                     8   EXAMINATION BY MR. ZAKARIN:
 9      PRYOR CASHMAN, LLP
        7 Times Square                                                  9       Q Good afternoon, Mr. Kohn.
10      New York, New York 10036                                       10       A Good afternoon.
        212-421-4100
11      BY: DONALD S. ZAKARIN, ESQ.                                    11       Q You've stated your name for
            dzakarin@pryorcashman.com
12          ROSS M. BAGLEY, ESQ.
                                                                       12   the record, so we'll dispense with
            rbagley@pryorcashman.com                                   13   that.
13          YEVGENIA S. KLEINER, ESQ.
            ykleiner@pryorcashman.com                                  14           Please give me your
14
15   ON BEHALF OF DEFENDANTS - Viacom International,
                                                                       15   educational background.
     Inc., New Creative Mix, Inc. and Hype                             16       A I have a law degree from
16   Production Music
         LOEB & LOEB                                                   17   Loyola Law School.
17       345 Park Avenue
         New York, New York 10154
                                                                       18           COURT REPORTER: I'm sorry.
18       212-407-4000                                                  19       If you could just keep your voice
         BY: WOOK J. HWANG, ESQ.
19           whwang@loeb.com                                           20       up. Law degree from?
             ERIN SMITH DENNIS, ESQ.                                   21       A Excuse me.
20           edennis@loeb.com
21                                                                     22       Q Loyola Law School --
22   ALSO PRESENT:
23     DAVID J. PRZYGODA, ESQ., Litigation                             23       A Loyola Law School in Los
       Counsel, Sony Corporation of America                            24   Angeles. I got a JD degree that I got
24
25                                                                     25   in 1981. If you want prior to that, I
                                                              Page 3                                                         Page 5
 1                                                                      1                   KOHN
 2     IT IS HEREBY STIPULATED AND AGREED, by and                       2   was at Cal State Northridge. I
 3 among counsel for the respective parties hereto,                     3   graduated with a business degree. I
 4 that the filing, sealing and certification of the                    4   majored in finance, minored in
 5 within deposition shall be and the same are hereby                   5   economics.
 6 waived.                                                              6          After law school, I took some
 7     IT IS FURTHER STIPULATED AND AGREED that all                     7   professional courses on the
 8 objections, except to the form of the question,                      8   entertainment business at USC here and
 9 shall be reserved to the time of trial;                              9   there. I have a LLM at Columbia Law
10     IT IS FURTHER STIPULATED AND AGREED that the                    10   School, which I got in 2016. That
11 within deposition may be signed before any Notary                   11   was -- I graduated with a Kent
12 Public with the same force and effect as if signed                  12   Scholar -- James Kent Scholar.
13 and sworn to before the court.                                      13      Q In what area?
14                ****                                                 14      A Nothing practical.
15                                                                     15   Jurisprudence, biblical jurisprudence,
16                                                                     16   philosophy of law, free speech,
17                                                                     17   theories of property.
18                                                                     18      Q So just a general LLM?
19                                                                     19      A Very general.
20                                                                     20      Q Okay.
21                                                                     21      A Yeah.
22                                                                     22      Q Give me your employment
23                                                                     23   history, please.
24                                                                     24      A Sure.
25                                                                     25      Q After you graduated law
                                                                                                                 2 (Pages 2 - 5)
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                                               Page 18                                                  Page 20
 1                    KOHN                                1                   KOHN
 2   you were retained as an expert for                   2   companies, whether it's Warner Chapel,
 3   purposes of testimony?                               3   Sony ATV, ABMG.
 4      A No.                                             4       A Not in --
 5      Q So you were retained --                         5       Q Just to distinguish them from
 6      A I was an expert from day one.                   6   a production music library.
 7      Q Okay.                                           7       A If you're asking in
 8          Because I wanted to                           8   connection with this case?
 9   differentiate if they're                             9       Q In connection with this case.
10   differentiating in terms of your fees.              10       A No.
11      A No.                                            11       Q And I'm actually asking in
12      Q So can you tell me how much                    12   connection with the generation of your
13   you have charged thus far to the                    13   report.
14   plaintiffs for your services?                       14       A No.
15      A Well, I charge at 650 an                       15       Q Have you ever been employed
16   hour; and I have bills that I think                 16   by a production music library company?
17   exceeded 100 hours. I believe it's                  17       A I wouldn't call it employed.
18   105, 110. I don't remember.                         18   My uncle ran one of the largest
19      Q Through what period of time?                   19   production music libraries in the world
20      A Starting -- the date of the                    20   of its time, which was Southern Music
21   retainer agreement was February 1st. I              21   Library which was owned by Peer Music.
22   think that was about when it started.               22           COURT REPORTER: I'm sorry?
23      Q Okay. So --                                    23       Owned by?
24      A From this year.                                24       A Peer Music, P-e-e-r. Peer
25      Q Since February 1st you have                    25   Music.
                                               Page 19                                                  Page 21
 1                   KOHN                                 1                    KOHN
 2   devoted something slightly north of 100              2      Q Did you work for him?
 3   hours to your work on this case?                     3      A Well, I provided him with
 4       A Yes.                                           4   advice. I never charged him.
 5       Q Okay. That's including                         5      Q When did you provide him with
 6   attending depositions and whatever                   6   advice?
 7   else?                                                7      A This would have been back in
 8       A Yes.                                           8   the 1980s.
 9       Q Okay.                                          9      Q Do you remember the subject
10          In connection with the                       10   matter in which you provided him
11   preparation of your report, did you                 11   advice?
12   communicate at all verbally or in                   12      A Yeah. My best memory is that
13   writing with any production music                   13   he invited me to his office, and
14   library companies?                                  14   because it was during the time in which
15       A No.                                           15   I was writing the first edition of Kohn
16       Q Have you communicated at all                  16   on Music Licensing. I think it was the
17   verbally or in writing with any                     17   1980s. It could have been the early
18   executives of any production music                  18   '90s, but I'm pretty sure it was before
19   library companies?                                  19   the first edition. As a matter of fact
20       A No.                                           20   I do -- it had to have been in the
21       Q Have you communicated at all                  21   '80s. I was living in Los Angeles. So
22   verbally or in writing with any music               22   probably prior to '87.
23   publishing companies? And when I say                23          I had visited his office,
24   music publishing companies, I'm                     24   which was a little one-man office in
25   referring to popular music publishing               25   Taluka Lake, California, which is near
                                                                                           6 (Pages 18 - 21)
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                                               Page 22                                                  Page 24
 1                   KOHN                                 1                 KOHN
 2   Burbank, I think. And I spent all                    2      Q     Okay.
 3   morning with him. He took phone calls.               3          So you were not employed by
 4   He was talking to people giving                      4   Music Production -- a production music
 5   licenses. I recall actually something                5   library company but you did this little
 6   pretty funny, at least he thought it                 6   consulting project on a sync license,
 7   was funny to me because he had got a                 7   as it were, for your uncle back in the
 8   call from -- that day from a company                 8   '80s?
 9   that wanted to use a needle drop in                  9       A Well, I would say, yeah. I
10   a --                                                10   mean, whatever questions he had for me
11           COURT REPORTER: I'm sorry,                  11   and other things that I might have over
12       sir. Can you just look this way?                12   the years that I don't really remember
13       A A needle drop -- yeah. A                      13   frankly.
14   needle drop in a porno film and they                14       Q Have you ever engaged in
15   came up with a song called Big Hammer.              15   licensing on behalf of a production
16   And he thought that was funny. And he               16   music library company?
17   takes the -- he had record albums at                17       A Not of a production music --
18   the time and then he would take a DAT               18   you said engaged in licensing?
19   tape, D-A-T, digital audiotape and do               19       Q Yeah.
20   recordings. Stick it in an envelope                 20       A Actually issuing a license?
21   and put a contract with it or license               21   No.
22   with it and send it off to the guy who              22       Q Have you ever been in
23   took the phone call.                                23   engaged --
24           And what I -- what I did for                24       A Not for a production music
25   him because I looked at the license                 25   library.
                                               Page 23                                                  Page 25
 1                   KOHN                                 1                   KOHN
 2   that he did, and by that time I had                  2       Q Have you ever been involved
 3   been out of Rudin's office and I had                 3   in licensing on behalf of a
 4   some experience in synchronization                   4   broadcaster?
 5   licenses and such, and I was kind of                 5          MR. MARDEROSIAN: Object to
 6   surprised how simple that form was.                  6       the term "involved."
 7   And it could be better. And I could                  7          Vague, ambiguous.
 8   make it better. And I actually put                   8       A I have never -- I don't
 9   together a synchronization license for               9   recall ever working for a broadcaster
10   him, which he thought was too long, and             10   in getting synchronization licenses. I
11   I got it down to one page and gave that             11   did on behalf of a production
12   to him and he went ahead and started                12   company -- while at Rudin's office we
13   using that. And, you know, I'd always               13   represented Warner Brother's Pictures.
14   see him at family events and things                 14   We represented 20th Century Fox. We
15   like that.                                          15   represented Irving Azoff, Front Line
16          And over the years we talked                 16   Management. We represented Scotti
17   about what he was doing, et cetera, and             17   Brothers.
18   he was using my license for quite a                 18          There was a period of time at
19   while. So I had that. It was a                      19   Warners Brothers Music when we were
20   one-man shop at that time, but he                   20   redoing -- this was probably 1982, '83
21   certainly had a lot of experience in                21   or so -- redoing all of Warner Brothers
22   dealing with a major production music               22   Music's synchronization licenses. It
23   library. And I got a sort of -- got an              23   was a project that I was heavily
24   idea of what that was through that                  24   involved with. I spent most of my time
25   experience.                                         25   on it for several weeks. It was a time
                                                                                           7 (Pages 22 - 25)
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                                               Page 30                                                  Page 32
 1                   KOHN                                 1                 KOHN
 2   picture, I was directly involved with                2      to object.
 3   the amount of money that was involved,               3          It calls for a legal opinion
 4   you know, in that. It was a -- you                   4      and conclusion.
 5   come to a point where some fee is                    5      Q You can answer the question.
 6   established and everyone answers for --              6      A There are royalty obligations
 7   no, most favored nations. So it                      7   that are specified in the contract, and
 8   becomes easy at a point.                             8   there are implied obligations that are
 9          There's only so many of these                 9   a part of every contract.
10   things you have to do in order to                   10      Q We'll get to the implied
11   become knowledgeable on how these                   11   obligations in due course. Right now
12   things are done. I don't need to do                 12   the question that I asked you was: On
13   10,000 synchronization licenses in                  13   a work for hire, the copyright owner is
14   order to learn how these things are                 14   the acquirer of the rights and that
15   negotiated.                                         15   acquirer is also under the law of the
16      Q Have you ever worked for a                     16   author; isn't that correct?
17   PRO in dealing with cue sheets and                  17          MR. MARDEROSIAN: I'm going
18   broadcasters?                                       18      to object.
19      A I never worked for a PRO, no.                  19          Calls for -- excuse me, Bob.
20      Q Now in your report you state                   20      You need to protect the record.
21   that acquiring a work on a                          21          I'm going to object as
22   work-for-hire basis does not mean that              22      calling for a legal opinion and
23   there are no other obligations owed to              23      conclusion, and it is an
24   the writer.                                         24      incomplete hypothetical.
25          Now, you know that a work for                25      Therefore, it's vague and
                                               Page 31                                                  Page 33
 1                     KOHN                               1                 KOHN
 2   hire makes the publisher of the work                 2       overbroad.
 3   not only the copyright owner but also                3       A Please read the question
 4   the author; isn't that correct?                      4   back.
 5           MR. MARDEROSIAN: I'm just                    5       Q I can say -- I'll say it
 6       going to object.                                 6   again, and the objection will be deemed
 7           It calls for a legal opinion                 7   to this so we don't have to waste time.
 8       and conclusion.                                  8           The acquirer of a work for
 9           It's vague and overbroad.                    9   hire under the Copyright Act is not
10       Q You can answer the question.                  10   merely the owner of the copyright but
11       A When a record company                         11   it is also deemed the author of the
12   acquires a master from a recording                  12   work; isn't that correct?
13   artist, it's under a work for hire                  13       A That's a different question
14   agreement. So -- but under that                     14   but I believe the answer to it is yes.
15   agreement there are royalty obligations             15       Q Okay.
16   back to the recording artist. Just                  16           And absent an agreement to
17   because they have a work for hire and               17   the contrary the author of the work
18   they're the author or considered the                18   would be entitled to the author share
19   author of the work, that is the record              19   of income; isn't that correct?
20   company, doesn't mean they have no                  20           MR. MARDEROSIAN: I'm just
21   financial obligation whatsoever to the              21       going to object.
22   person they're contracting with.                    22           It calls for a legal opinion
23       Q Those royalty obligations are                 23       and conclusion. And it is an
24   specified in the contract, correct?                 24       incomplete hypothetical.
25           MR. MARDEROSIAN: I'm going                  25
                                                                                           9 (Pages 30 - 33)
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                                               Page 54                                                 Page 56
 1                    KOHN                                1                     KOHN
 2   said, virtually give away the                        2       that's what the reports indicate.
 3   intellectual property in exchange for a              3       Q That wasn't my question. I
 4   small upfront fee and potential                      4   asked a different question.
 5   lucrative writer's share of public                   5           I said --
 6   performance royalties.                               6       A Yes.
 7          The month before this                         7       Q -- are those licenses
 8   agreement was signed they got $10,000                8   listed --
 9   from the same company that they signed               9       A Yeah.
10   this agreement with for a sync license              10       Q -- in the material --
11   for just -- they kept the intellectual              11       A They don't have to be
12   property. So they went from $10,000 on              12   listed --
13   a non-work for hire license down to                 13           COURT REPORTER: I'm sorry,
14   $200 for a work for hire. So that's                 14       sir. I just need a full question.
15   where the word "small" comes from.                  15       A They don't have to be listed.
16      Q I wasn't asking you about the                  16   I talked about Aron and Robert
17   word "small."                                       17   regularly command $60,000 for film
18      A Well, I wanted to clarify my                   18   trailers --
19   answer. You asked me -- you read the                19           COURT REPORTER: Sir.
20   whole thing to me.                                  20           MR. MARDEROSIAN: Slow down.
21      Q You have to wait -- when I'm                   21       Slow down, please.
22   talking, you wait. When you're                      22       A Aron and Robert regularly
23   talking, I'll wait. It will be much                 23   command $60,000 for film trailers that
24   better that way. Okay?                              24   use works they own and control.
25      A Are you finished?                              25       Q I understand --
                                               Page 55                                                 Page 57
 1                    KOHN                                1                  KOHN
 2       Q No, because now I'm going to                   2       A Where do you think I got that
 3   ask you the question --                              3   information?
 4       A Good.                                          4       Q I'm asking you a different
 5       Q -- that you didn't answer.                     5   question.
 6          You said that we were                         6       A Well, it's in my report.
 7   provided all of these licenses. And                  7       Q So you were provided with
 8   I'm asking you what licenses do you of               8   licenses. That's where you get the
 9   your own knowledge know we were                      9   information from; is that right?
10   provided of the brothers?                           10       A Yes.
11       A There's a set of licenses,                    11       Q Okay.
12   about 15 licenses or -- 15 to 20                    12         You also said that we were
13   licenses that I've seen in which the                13   provided those licenses. And I'm
14   brothers have licensed to third parties             14   asking you how do you know that?
15   of their own music that's not -- songs              15       A I just made an assumption on
16   and recordings that are not included in             16   that.
17   either of the contracts in this case,               17       Q So it was an assumption that
18   in which they licensed over the period              18   you made while you were sitting here?
19   of time from 2010 until about 2017.                 19       A Yes.
20       Q Are those licenses identified                 20       Q You don't know that as a
21   in the works that you reviewed, the                 21   fact?
22   materials you reviewed?                             22       A I don't get involved with
23          MR. MARDEROSIAN: He's been                   23   communications between the plaintiff's
24       provided with all of the materials              24   attorneys and you.
25       that were produced. I think                     25         So I have no personal
                                                                                         15 (Pages 54 - 57)
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                                               Page 58                                              Page 60
 1                    KOHN                                1                  KOHN
 2   knowledge of what they sent you and                  2    A Production music library
 3   what you sent them.                                  3 contracts, yes --
 4       Q I understand. All I'm trying                   4        COURT REPORTER: Sir. I'm
 5   to do is get a clear record as to when               5    sorry. Wait. I just need a full
 6   you know something and when you are                  6    question.
 7   assuming something.                                  7        MR. ZAKARIN: You're right.
 8       A Well, it's fair enough.                        8    We'll try to slow it down.
 9       Q Because there's a difference.                  9    Q The production music library
10       A It's fair enough.                             10 contract?
11       Q That's all.                                   11        MR. MARDEROSIAN: Excuse me.
12          How many production music                    12    It really -- this needs to slow
13   library work for hire contracts have                13    down.
14   you studied in your career? I know                  14        In all due respect to you,
15   these -- these two we know you have.                15    Don, you need to slow it down with
16   But beyond those?                                   16    the questions. And, Bob, in
17       A I don't remember.                             17    responding to the questions, we
18       Q More than 100? More than a                    18    need a moment, take a breath so
19   1,000?                                              19    that we don't wear the court
20       A I didn't do a lot of                          20    reporter out so we can get through
21   dealing --                                          21    the deposition today.
22       Q More than two?                                22        Okay. And I am as guilty as
23       A It might have been more than                  23    anyone in what advice I just gave
24   two; but it's probably less than 1,000.             24    the both of you. So let's get
25   I mean, it's less than 100.                         25    that skunk out on the table right
                                               Page 59                                              Page 61
 1                   KOHN                                 1                KOHN
 2       Q Less than ten?                                 2       now.
 3       A I haven't done a lot of                        3          But I'm just trying to help
 4   production music library work directly.              4       the process so that Mr. Zakarin,
 5   I've never worked for a production                   5       on behalf of his clients, can get
 6   music library.                                       6       your opinions and question the
 7       Q I understand.                                  7       opinions that you set forth in
 8       A But I've seen production                       8       your report.
 9   music library licenses over time in                  9          THE WITNESS: Thanks, Mick.
10   connection with studying and getting                10          MR. MARDEROSIAN: All right.
11   information from either my father or                11       Q Okay.
12   for other people in the industry or                 12          Where were we? Did we have
13   from sitting on panels with people like             13   an answer? Let's try to get back to
14   Mr. Massarsky, who's sitting here at                14   where we were. Give me a second.
15   the table. I might have been on a                   15          Now, you gleaned this -- the
16   panel with him at one point or another              16   knowledge of the custom and practice
17   where you pick up what the customs and              17   from being on panels with people like
18   practices are in the music industry.                18   Massarsky and from the production music
19       Q So you glean that from your                   19   library contracts, the work for hire
20   discussions with people like Massarsky              20   contracts you've looked at?
21   or --                                               21       A And discussions that I've had
22       A Or from looking directly at                   22   with my Uncle Roy and the advice that I
23   the contracts.                                      23   might have given him over a period of
24       Q The production music library                  24   years, that he might have asked me
25   contracts --                                        25   questions that I have given him. He
                                                                                        16 (Pages 58 - 61)
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                                               Page 62                                                  Page 64
 1                    KOHN                                1                   KOHN
 2   was the closest person in my life whose              2   public performance income; is that
 3   full-time business for 40 years was                  3   right?
 4   running a production music library. He               4       A Yes.
 5   was my uncle, and I would see him                    5       Q And that would be hopefully
 6   very -- almost every weekend, you know,              6   generated by successful placements of
 7   in California.                                       7   their works?
 8       Q Is he still alive?                             8       A Yes.
 9       A No. He passed away last                        9       Q Placements with whom?
10   year -- or two years ago.                           10       A Placements with anyone
11       Q I'm sorry.                                    11   producing audiovisual works that are
12       A He was 91, lived a good life.                 12   likely to be broadcast by organizations
13       Q But as you testified already,                 13   that are licensed by one of the
14   in connection with your forming of your             14   productions -- one of the PROs or
15   report, you did not consult with, talk              15   particularly in this case BMI.
16   to any production music libraries or                16       Q Well, in this case we're
17   executives at those companies?                      17   dealing with the 2010 agreement. Why
18       A No.                                           18   don't we just put that out there now
19       Q Okay.                                         19   just so we have it. Okay? We're not
20          Now, you've talked about                     20   going to directly refer to it right
21   having looked at some, I think, 15                  21   this minute, but you might as well mark
22   licenses, I think you said, of the --               22   it as K Exhibit 2 or K2.
23   of the plaintiff's work -- of their                 23          (Blanket Composer Agreement
24   self-published works, I guess it is; is             24       (Direct) dated as of May 19, 2010,
25   that right?                                         25       was marked K Exhibit 2, for
                                               Page 63                                                  Page 65
 1                 KOHN                                   1                    KOHN
 2      A Yes.                                            2       identification, as of this date.)
 3      Q Have you examined any of                        3       Q You can just put that next to
 4   their other production music library                 4   it. I'm not going to be questioning
 5   agreements other than the two in this                5   you about it.
 6   case?                                                6       A Okay.
 7      A I don't know whether they                       7       Q But I'll ask you one
 8   have other production music library                  8   question. Can you identify that as the
 9   contracts.                                           9   2010 agreement that you reviewed?
10      Q You're not aware of that?                      10       A Yes.
11      A No.                                            11           MR. MARDEROSIAN: Don, is
12      Q Okay.                                          12       this the one that's not
13      A One way or the other, I don't                  13       Bates-stamped? Is this the one
14   know whether they have or have not. I               14       that you folks produced pursuant
15   certainly haven't looked at that.                   15       to Judge Crotty's order or is this
16      Q You haven't looked at them?                    16       one that's been produced in
17      A No.                                            17       discovery or, excuse me, or is
18      Q If they exist?                                 18       this the one that the plaintiff's
19      A Well, if they exist, I                         19       produced.
20   haven't looked at them.                             20           MR. BAGLEY: I believe that
21      Q Okay. Fair enough.                             21       this is the copy that you sent to
22          Now, in your report what we                  22       the court after he asked for a
23   just looked at is what they were -- an              23       more legible copy of the
24   important consideration was the                     24       agreements.
25   potential lucrative writer share of                 25           MR. MARDEROSIAN: Yes.
                                                                                          17 (Pages 62 - 65)
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                                               Page 98                                                  Page 100
 1                   KOHN                                 1                   KOHN
 2   performance income of sound recordings.              2          In terms of the 2010
 3   There's a performer share.                           3   agreement, Exhibit K2, can you identify
 4      A Well, a performer share.                        4   any provision in it which obligated
 5          Okay. I misspoke. Correct.                    5   Viacom as a music publisher, meaning
 6   Performer share.                                     6   New Remote Productions, to file cue
 7      Q I just want to make sure that                   7   sheets with BMI?
 8   we're not confusing the record.                      8          MR. MARDEROSIAN: I'm just
 9          MR. MARDEROSIAN: Well, then                   9      going to object. It calls for a
10      ask questions as opposed to making               10      legal opinion and conclusion.
11      statements --                                    11      A I'm going to take a minute to
12          THE WITNESS: So that.                        12   look through this.
13          MR. MARDEROSIAN: Excuse                      13      Q Please do.
14      me -- to the witness. This is                    14      A Because there's a difference
15      supposed to be question --                       15   between this agreement and the other
16          MR. ZAKARIN: The witness --                  16   agreement as to what they said.
17          MR. MARDEROSIAN: Hold on.                    17      Q Please do.
18          MR. ZAKARIN: -- accidentally                 18      A I think I can treat this the
19      misspoke.                                        19   way I said it before, in that whether
20          MR. MARDEROSIAN: It's                        20   there's something specific in here or
21      supposed to be a question and                    21   not, what music publishers do is in
22      answer process. I know that you                  22   administering the rights acquired from
23      believe in what you're stating,                  23   songwriters, whether it's on a work for
24      but that's not the point for this                24   hire basis or a copyright assignment
25      process. It's question and                       25   basis or an administration basis where
                                               Page 99                                                  Page 101
 1                 KOHN                                   1                    KOHN
 2      answer.                                           2   they have an administration agreement,
 3          If he's wrong, point that out                 3   their responsibility is going to be to
 4      at a later time before the court                  4   do those things necessary for the song
 5      or at the time of trial.                          5   writer to receive the benefit of the
 6          MR. ZAKARIN: I think I                        6   bargain they made in signing the
 7      helped your witness to correct a                  7   contract.
 8      misstatement that was inadvertent.                8          So the answer is, yes, they
 9          THE WITNESS: It was                           9   have an obligation to review cue sheets
10      inadvertent. It wasn't advertent.                10   with respect -- if the cue sheets have
11      It was a performers.                             11   mistakes in them, they're not going to
12          The performer doesn't                        12   get paid. BMI says that. The other
13   register the fact that they -- if they              13   thing is if the mistakes were caused by
14   don't put their name on Sound Exchange              14   the administrator as it was in this
15   and attach themselves to some metadata              15   case by apparently providing very bad
16   of some kind. They're not going to get              16   metadata where I've seen cue sheets
17   paid at all.                                        17   that have the word Mix Tape as the name
18          Now, when you say they                       18   of the composer, and that wasn't just
19   registered at Sound Exchange, that                  19   one that I had in my report.
20   could mean a lot of things and I -- and             20          Mr. Marderosian yesterday
21   we have to look at the facts. And I                 21   pointed out to one of your expert
22   certainly have no personal knowledge of             22   witnesses who had never even seen those
23   what they did or didn't do with respect             23   before. He seemed -- his face looked
24   to Sound Exchange in those recordings.              24   shocked when he saw the word "Mix
25      Q Okay.                                          25   Tape," which is the name of a library
                                                                                        26 (Pages 98 - 101)
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                                              Page 102                                               Page 104
 1                   KOHN                                 1                  KOHN
 2   that your client runs as the name of                 2          MR. ZAKARIN: You are --
 3   the composer. Now, how did that                      3     wait. Shh. Shh. That's right.
 4   happen, I say rhetorically.                          4          MR. MARDEROSIAN: In the
 5          So that -- when they cause                    5     depositions.
 6   mistakes like that, they have every                  6          MR. ZAKARIN: There is no
 7   obligation to fix the mistake. Rob and               7     such --
 8   Aron didn't make those mistakes.                     8          MR. MARDEROSIAN: In the
 9      Q Tell me something. You just                     9     depositions.
10   said that our client provided very bad              10          MR. ZAKARIN: I don't care.
11   metadata.                                           11     It doesn't matter. That has
12          Have you seen the metadata?                  12     nothing to do with my question.
13          Have you seen the metadata?                  13          You're vamping now, Mick, and
14          MR. MARDEROSIAN: Object.                     14     it's not very effective.
15      It's vague and overbroad.                        15          MR. MARDEROSIAN: I'm not
16          What metadata are you                        16     vamping at all.
17      referring to?                                    17          MR. ZAKARIN: You are.
18          MR. ZAKARIN: He's just --                    18     There's a question on the record.
19          THE WITNESS: I don't need                    19     You answer it.
20      the see metadata.                                20     Q Have you seen any of the
21          MR. MARDEROSIAN: Hold on.                    21 metadata that you have now stated was
22      Excuse me.                                       22 bad?
23          We made a request for                        23     A The word "Mix Tape" is part
24      production of the hard drives, and               24 of the metadata. So the answer is yes.
25      you said that they don't exist any               25     Q You don't know it is, do you?
                                              Page 103                                               Page 105
 1                 KOHN                                   1                  KOHN
 2    longer.                                             2    A Yes, I do. How else would
 3        So are you now changing that?                   3 that --
 4        MR. ZAKARIN: Yeah. The                          4         MR. MARDEROSIAN: Hold on.
 5    witness has --                                      5         You're arguing now.
 6        MR. MARDEROSIAN: Do they                        6         Let's take a break. We're
 7    exist or not?                                       7    taking a break.
 8        MR. ZAKARIN: The witness has                    8         You need to control yourself
 9    made a statement, and I've asked                    9    and stop arguing with the witness.
10    him the appropriate question.                      10         MR. ZAKARIN: I'm fine.
11    Q Have you seen the metadata                       11         MR. MARDEROSIAN: Let's take
12 that you said was bad?                                12    a break.
13        MR. MARDEROSIAN:                               13         MR. ZAKARIN: I'm fine.
14    Mr. Zakarin, I asked for the                       14         MR. MARDEROSIAN: You're
15    metadata. I wanted to see the                      15    arguing with the witness.
16    metadata that Dan White and Russel                 16         MR. ZAKARIN: You can take a
17    Emanuel were sending with the                      17    break, but I am fine.
18    audio tracks. And I have been                      18         MR. MARDEROSIAN: We're going
19    repeatedly told through the                        19    to take a break because you're --
20    discovery of this case it no                       20    you need to calm down.
21    longer exists.                                     21         (Whereupon, a brief recess
22        Are you now changing -- does                   22    was taken.)
23    it exist or not?                                   23    Q It's a simple question.
24        MR. BAGLEY: Where was that                     24         MR. ZAKARIN: This is working
25    discovery request?                                 25    now?
                                                                                     27 (Pages 102 - 105)
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                                          Page 106                                              Page 108
 1                    KOHN                            1                   KOHN
 2          COURT REPORTER: It should                 2       A Kelsey -- there was a
 3       be, yes.                                     3   deposition by a Kelsey. I can't
 4          MR. ZAKARIN: Okay.                        4   remember if that's her first name or
 5          MR. MARDEROSIAN: When you                 5   last name, where she was talking about
 6       say "simple question," we really             6   the responsibility when the metadata
 7       don't need remarks like that on              7   management was in the UK by Extreme.
 8       the record, Don. That's                      8       Q Now --
 9       argumentative.                               9       A And that was changing all the
10          MR. ZAKARIN: Thank you,                  10   time. So I think about that, and I
11       Mick.                                       11   wonder what you mean by which metadata.
12       Q Mr. Kohn, you haven't seen                12          There's lots of metadata that
13   any of the metadata; isn't that                 13   could be used to produce and to give
14   correct?                                        14   information to broadcasters. When I
15       A What I testified to earlier               15   see a cue sheet, usually it is
16   is that when I saw the word "Mix Tape"          16   comprised of entries that are taken
17   as the name of a composer that I was            17   from metadata. So to answer your
18   looking at the metadata.                        18   question when I'm looking at the cue
19       Q You haven't seen any of the               19   sheet and I see errors that seem to me
20   metadata that was provided by Extreme           20   were either the result of manipulated
21   to any broadcaster, have you?                   21   metadata intentionally or someone
22          MR. MARDEROSIAN: I'm going               22   intentionally eliminating the
23       to object. It's vague and                   23   composer's name, I don't know what to
24       overbroad.                                  24   make of it.
25          Are you talking about the                25          So have I seen hard drives of
                                          Page 107                                              Page 109
 1                   KOHN                             1                    KOHN
 2      hard drives that Kelsey Dewald                2   anything? No. Hard drives were not
 3      testified to? Is that what you're             3   given to me. Generally when you get
 4      talking about, the electronic                 4   metadata, it can be in the form of a
 5      information that Extreme, even                5   electronic spreadsheet file. I've had
 6      your own expert said Extreme                  6   a lot of spreadsheets sent to me in the
 7      provided to the broadcasters? Is              7   course of my report that I've taken a
 8      that what you're asking him, the              8   look at. I'm not sure which one might
 9      actual hard drives? Because they              9   have been the metadata that you're
10      haven't been produced in this                10   talking about.
11      case.                                        11       Q So you don't know if you've
12          MR. ZAKARIN: I understand.               12   seen any metadata; is that right?
13      Q You can answer the question.               13           MR. MARDEROSIAN: Objection.
14          Have you seen any of the                 14           That's misstating the
15   metadata that was supplied by Extreme           15       testimony, the answer just given.
16   either through hard drives or on its            16           It's argumentative as well.
17   website to any broadcaster?                     17       Q You can answer.
18          MR. MARDEROSIAN: I'm still               18       A I've already answered that
19      going to object as vague.                    19   question.
20          MR. ZAKARIN: You can answer.             20       Q No. You can answer the
21          MR. MARDEROSIAN: And                     21   question now.
22      compound.                                    22       A I've already --
23      A I'm thinking now back to a                 23       Q You don't get to decide.
24   woman named Kelsey.                             24       A I've already answered it.
25      Q Who's that?                                25       Q So you're refusing to answer
                                                                                  28 (Pages 106 - 109)
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                                          Page 110                                              Page 112
 1                KOHN                                1                   KOHN
 2   the question?                                    2   Kelsey. But that had to be fixed. I
 3        A No, I already answered the                3   don't know what --
 4   question.                                        4      Q But --
 5        Q Well, I asked you a different             5      A I don't know -- I started
 6   question. If you don't want to answer            6   working on this case last February.
 7   it, just say so.                                 7   And I don't know when that declaration
 8           MR. MARDEROSIAN: Mr. Zakarin             8   was filed. I don't know when the
 9        ,you're arguing with the witness.           9   metadata was fixed. So it was -- so I
10        He told you that he answered the           10   don't --
11        question. If you disagree, you             11      Q Go ahead.
12        must take it up with the court.            12      A You know, I'm trying to get
13           MR. ZAKARIN: I will.                    13   back to your question and I'm kind of
14        Q Now Mr. Kohn, have you gone              14   looping back and finding nothing. So
15   onto the website of Extreme and                 15   go ahead.
16   examined any of the metadata?                   16      Q So it's your recollection, as
17        A Yes. Well, I've gone onto                17   long as you brought it up, that
18   the website of Extreme; and I've done a         18   Mr. Pounder said that the metadata or
19   number of searches. And if you've seen          19   the -- or something was wrong with the
20   ISRC codes -- I'm sorry --                      20   IWC code?
21           COURT REPORTER: I'm sorry?              21          MR. MARDEROSIAN: Objection.
22        ISRC codes?                                22      A That's my recollection.
23        A ISW -- ISWC codes, perhaps               23      Q As opposed to him saying that
24   ISRC codes. So if -- that is typically          24   the outward facing website did not have
25   part of metadata. So that if you're             25   the accurate information but that the
                                          Page 111                                              Page 113
 1                   KOHN                             1                   KOHN
 2   asking whether I've seen metadata on             2   inside website had the information.
 3   the website, the answer is yes.                  3          You don't recall what he
 4       Q Okay. Have you seen any                    4   said?
 5   metadata on the website with respect to          5          MR. MARDEROSIAN: I'm going
 6   the Marderosians' works that improperly          6      to object. It's vague.
 7   identifies the composers, the title of           7      Q Is it --
 8   the work, the publisher or the PRO?              8          MR. MARDEROSIAN: Vague and
 9          MR. MARDEROSIAN: I'm just                 9      overbroad.
10       going to object as vague and                10          MR. ZAKARIN: I'll withdraw
11       overbroad.                                  11      the question.
12       A I think it's also too narrow              12      Q Is it your -- do you recall
13   because I don't know what ISRC code and         13   what it was that he actually said in
14   what ISWC code I was seeing -- looking          14   his reply affidavit?
15   at. But in Dan Pounder's deposition --          15      A I'm telling you now that I,
16   I'm sorry -- in Dan Pounder's                   16   and I think I said it earlier, I
17   declaration that was attached to a              17   vaguely recollect him saying something
18   motion to dismiss or objection to a             18   about flawed metadata in his
19   motion to dismiss, I'm not sure which           19   declaration. I don't remember
20   it was, I guess it was the motion to            20   precisely what he said in his
21   dismiss, he talks about that there was          21   declaration.
22   flaws in the metadata. He doesn't               22      Q Okay.
23   explain what caused the flaws in the            23          In terms of the, you know,
24   metadata. That was changing over a              24   cue sheets that you've seen that have
25   period of time, according to this woman         25   some erroneous information, have you
                                                                                  29 (Pages 110 - 113)
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                                      Page 114                                          Page 116
 1                  KOHN                          1                 KOHN
 2 compared any of those cue sheets to            2        Do you understand the
 3 other cue sheets for the same songs            3     question?
 4 that have correct information?                 4        THE WITNESS: No, I don't.
 5        MR. MARDEROSIAN: Just going             5     Q Okay. You're not supposed to
 6    to object that the question as              6 if your counsel professes not to. So
 7    phrased is vague and ambiguous.             7 that was very good.
 8        What body of cue sheets are             8        Let me try and do this again.
 9    you referring to, Don?                      9        MR. MARDEROSIAN: That's not
10        MR. ZAKARIN: The ones that             10     necessary, Don, but anyways.
11    the witness talked about having            11        MR. ZAKARIN: I found it
12    improper information such as Mix           12     necessary.
13    Tape on it. That's what he's just          13        MR. MARDEROSIAN: Remember
14    testified to. That's what the              14     control.
15    question is directed to, Mick.             15        MR. ZAKARIN: I am.
16        MR. MARDEROSIAN: Just so               16        MR. MARDEROSIAN: We
17    we're clear, and I apologize, but          17     agreed -- both you and I agreed to
18    there are BMI produced cue sheets          18     control.
19    in this case. There are ASCAP              19        MR. ZAKARIN: I'm exercising
20    produced cue sheets in this case.          20     great control, Mick. In fact,
21    There are Viacom produced cue              21     extraordinary control.
22    sheets in this case. So there are          22     Q My question is --
23    various sources of cue sheets.             23        MR. MARDEROSIAN: Mine comes
24        Which ones are you referring           24     more naturally.
25    to that -- in your question?               25     Q -- with respect to the
                                      Page 115                                          Page 117
 1                 KOHN                           1                  KOHN
 2       MR. ZAKARIN: I'm referring               2   erroneous cue sheets that you
 3   to the ones that the witness is              3   reference -- you recall referencing
 4   talking about. That's what I am              4   some erroneous cue sheets?
 5   referring to. I couldn't care                5          MR. MARDEROSIAN: He didn't
 6   less who produced the cue sheets.            6      say some. You're arguing again.
 7   I'm talking about the ones that              7          MR. ZAKARIN: One. You want
 8   he's testified had erroneous                 8      to make --
 9   information and from which he has            9          MR. MARDEROSIAN: Don't argue
10   drawn the conclusion that the               10      the case. Just ask the question.
11   metadata was flawed.                        11      Q You have seen more than one
12       That's what I am asking him             12   erroneous cue sheet?
13   about.                                      13      A You mean cue sheets that
14       MR. MARDEROSIAN: What's the             14   contained --
15   question? Has he seen --                    15      Q Mistaken information or
16       MR. ZAKARIN: If you would               16   incomplete information, one or the
17   listen --                                   17   other.
18       MR. MARDEROSIAN: -- flawed              18      A Or manipulated information.
19   information?                                19      Q You -- we'll talk about
20       MR. ZAKARIN: -- if you would            20   whether it's manipulated. You're
21   not interrupt, you would hear the           21   drawing a conclusion on manipulated,
22   question.                                   22   aren't you?
23       MR. MARDEROSIAN: Well, it's             23      A You're drawing a conclusion
24   not about interrupting. It's                24   on mistaken.
25   about understanding the question.           25      Q When I say that that they
                                                                           30 (Pages 114 - 117)
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                                              Page 118                                                  Page 120
 1                    KOHN                                1                 KOHN
 2   didn't have corrected --                             2   no?
 3       A I don't know whether --                        3       A I didn't go to the
 4       Q -- they didn't have correct                    4   broadcaster -- which broadcaster?
 5   information. I'm not making a value                  5       Q The broadcaster that had the
 6   judgment as to intent, manipulation,                 6   mistaken or the incorrect information
 7   how it got there. I'm simply dealing                 7   on the cue sheet?
 8   with a cue sheet that did not have                   8       A Well, I don't know whether it
 9   either complete or accurate                          9   was the broadcaster who produced the
10   information.                                        10   cue sheet or whether it was the
11       A The word mistake will connote                 11   producer who produced the cue sheet.
12   innocence. And I don't see, given the               12          Are you assuming --
13   cue sheets that I've looked at, the                 13       Q Did you go to the producer?
14   ones that had incorrect -- I mean                   14          MR. MARDEROSIAN: Hold on.
15   literally way off the charts incorrect              15          Go ahead.
16   information would seem to me coming                 16       Q Did you go to the producer?
17   from metadata that one of the                       17       A I didn't go to -- I didn't go
18   depositions say was manipulated in the              18   to anyone on the outside to ask them
19   UK by somebody.                                     19   who produced.
20           I have seen a number of cue                 20       Q Okay. Did you go to Extreme
21   sheets. I've seen lots of things                    21   and ask them?
22   produced to me. I've looked at cue                  22          MR. MARDEROSIAN: Wait a
23   sheets, a whole slew of them, perused               23       second. Hold on, please.
24   them. And all I could say is I pointed              24          Okay. I object to the
25   out the ones that, as I did in my                   25       question.
                                              Page 119                                                  Page 121
 1                   KOHN                                 1                     KOHN
 2   report, and Mick's produced to your                  2           You mean, did he go to your
 3   expert witnesses yesterday a number of               3       client and have a discussion with
 4   them that say the composer's name is                 4       your client?
 5   Mix Tape, which is the name of the                   5           MR. ZAKARIN: Yeah, did he
 6   library.                                             6       inquire of anybody?
 7       Q Okay.                                          7       A I looked at the evidence that
 8          Now, do you know how Mix Tape                 8   was presented to me. And there is
 9   got listed there? Do you know?                       9   clear evidence from someone who works
10          MR. MARDEROSIAN: Objection.                  10   for Viacom that the metadata was
11          Vague and overbroad.                         11   changed and manipulated in the UK. All
12       A I have no personal                            12   right? And it seems to me that the
13   knowledge --                                        13   misinformation that you're saying is in
14       Q Okay. Did you --                              14   these cue sheets or however you want
15       A -- of how the word --                         15   to -- incorrectly putting a name of
16       Q Go ahead, please.                             16   your client's library as the composer
17       A -- Mix Tape gets in there. I                  17   name, gets there through information
18   have my suspicions, but I have no                   18   provided to the broadcaster or the
19   personal knowledge of how it got there.             19   producer. That's generally how it gets
20       Q So you didn't go to --                        20   there.
21          MR. MARDEROSIAN: Are you                     21           I can't imagine how a
22       done with your answer?                          22   broadcaster or producer would confuse a
23       A Yes, I am.                                    23   composer's name with the name of a
24       Q You didn't go to the                          24   library or the word Mix Tape.
25   broadcaster and ask, did you? Yes or                25       Q So --
                                                                                      31 (Pages 118 - 121)
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                                          Page 122                                         Page 124
 1                   KOHN                             1                 KOHN
 2      A But, no, I haven't had any --               2   testimony into the record.
 3   make any phone calls to your client.             3       MR. ZAKARIN: I want you to
 4      Q But you've concluded that the               4   do it.
 5   person filling out the cue sheet could           5       MR. MARDEROSIAN: And I'll do
 6   not have possibly made an honest                 6   it tomorrow with your expert to
 7   mistake; is that your testimony?                 7   see if he's --
 8          MR. MARDEROSIAN: Hold on.                 8       MR. ZAKARIN: Please --
 9          I'm going to object to the                9       MR. MARDEROSIAN: -- familiar
10      question.                                    10   with it.
11          This is calling for                      11       MR. ZAKARIN: -- please do
12      speculation. It's argumentative.             12   it.
13      It's vague and overbroad.                    13       MR. MARDEROSIAN: Because the
14          MR. ZAKARIN: Everything the              14   evidence, even your own experts
15      witness has testified to in the              15   use --
16      last 20 minutes has been rank                16       MR. ZAKARIN: Please do it.
17      speculation. Why should we stop              17       MR. MARDEROSIAN: Let me
18      now?                                         18   finish.
19          MR. MARDEROSIAN: Incorrect.              19       Even Mr. Katz agreed Extreme
20          Don, stop arguing the case.              20   controlled all of the metadata
21      Kelsey Dewald testified that from            21   that went to --
22      Santa Monica Russel Emanuel and              22       MR. ZAKARIN: No dispute.
23      Dan Knight continually changed the           23       MR. MARDEROSIAN: -- the
24      metadata that went to the                    24   broadcasters. That in and of
25      broadcasters.                                25   itself is a breach of contract
                                          Page 123                                         Page 125
 1                   KOHN                             1                KOHN
 2         MR. ZAKARIN: There's no such               2   because you're controlling the
 3     testimony.                                     3   payment pathway that leads to
 4         MR. MARDEROSIAN: Hold on.                  4   payment to a composer. You're
 5     You know --                                    5   controlling the metadata. And
 6         MR. ZAKARIN: There's no such               6   guess what, the results are on all
 7     testimony.                                     7   the cue sheets, what cue sheets
 8         MR. MARDEROSIAN: You opened                8   were filed. Not even talking
 9     the door --                                    9   about all the cue sheets that your
10         MR. ZAKARIN: There's no such              10   own extract admits were not filed
11     testimony.                                    11   that your client got paid for that
12         MR. MARDEROSIAN: You want me              12   my client did not.
13     to read it into the record?                   13      MR. ZAKARIN: You haven't
14         MR. ZAKARIN: Yes.                         14   proved a thing you keep saying the
15         MR. MARDEROSIAN: Because if               15   same thing.
16     you're telling your client --                 16      MR. MARDEROSIAN: You
17         MR. ZAKARIN: Yes. Read it                 17   produced the documents.
18     into the record.                              18      MR. ZAKARIN: You're right.
19         MR. MARDEROSIAN: Let me get               19   Go through it. You haven't asked
20     it. I can absolutely --                       20   a question about it.
21         MR. ZAKARIN: On the next                  21      MR. MARDEROSIAN: When you
22     break, you sit here and read it               22   argue that this is speculation, I
23     into the record.                              23   must respond this way because you
24         MR. MARDEROSIAN: I will                   24   seem -- you have a habit of
25     absolutely read Kelsey Dewald's               25   ignoring the adverse evidence in
                                                                             32 (Pages 122 - 125)
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                                          Page 126                                        Page 128
 1                KOHN                                1               KOHN
 2   the case. And that's okay, Don.                  2       MR. ZAKARIN: You have no
 3   I'm okay with that because I don't               3   clue what that is and neither do
 4   really care. But don't do it on                  4   your clients --
 5   the record and argue with the                    5       MR. MARDEROSIAN: Here's the
 6   expert witness that he's                         6   semiannual reports. The money's
 7   speculating.                                     7   going through ASCAP. You're
 8       Kelsey Dewald testified out                  8   reporting to Viacom that the money
 9   of Santa Monica the metadata was                 9   is flowing through ASCAP, Don.
10   changed all the time. You know                  10       MR. ZAKARIN: You have no --
11   what it was changed? Because he's               11       MR. MARDEROSIAN: I'm sorry,
12   manipulating the composer names to              12   Don. But the evidence -- the
13   use the composer catalogs that he               13   evidence is over. It's over.
14   controls.                                       14       MR. ZAKARIN: So is this case
15       MR. ZAKARIN: Mick, you make                 15   shortly.
16   stuff up on the record and you                  16       MR. MARDEROSIAN: And you're
17   think that that's --                            17   going to see more during the
18       MR. MARDEROSIAN: I'm not                    18   summary judgment as well. More --
19   making it up.                                   19   when I make the summary judgment.
20       MR. ZAKARIN: Don't talk when                20       MR. ZAKARIN: Please do,
21   I'm talking. I listened to you                  21   Mick.
22   patiently again. It's very                      22       MR. MARDEROSIAN: I'm going
23   difficult, but I did listen to you              23   to do that.
24   patiently. Now, you also have to                24       MR. ZAKARIN: You think
25   listen to me. I'll be very brief.               25   you're threatening me?
                                          Page 127                                        Page 129
 1                KOHN                                1                 KOHN
 2       You constantly rhetorically                  2        MR. MARDEROSIAN: I'm not
 3   in lieu of evidence make stuff up.               3   threatening you. You have
 4   And you splay it all across the                  4   threatened me with the summary
 5   record. And it's not evidence.                   5   judgment for months.
 6   It's not anything but something                  6        But, Don, guess what, I --
 7   that you find comforting.                        7   this evidence in this case is
 8       MR. MARDEROSIAN: Here's your                 8   overwhelming. And when I get that
 9   extract --                                       9   decision on the summary judgment,
10       MR. ZAKARIN: I know all                     10   it's going to be in the media.
11   about it.                                       11   I'm going to tell you right now
12       MR. MARDEROSIAN: -- money's                 12   because this is nothing short of
13   flowing through ASCAP.                          13   theft. This is illegal activity.
14       MR. ZAKARIN: You don't know                 14        MR. ZAKARIN: The only thing
15   what it is.                                     15   illegal is --
16       MR. MARDEROSIAN: You                        16        MR. MARDEROSIAN: And it's
17   produced it yourself.                           17   not going to end. I'm going to
18       MR. ZAKARIN: You have you                   18   tell you it's not going to end.
19   no --                                           19        MR. ZAKARIN: The only
20       MR. MARDEROSIAN: You've                     20   thing --
21   admitted to that money flows                    21        MR. MARDEROSIAN: There are
22   through ASCAP.                                  22   people lining up. I'll tell you
23       MR. ZAKARIN: You have no --                 23   that right now.
24       MR. MARDEROSIAN: Why is                     24        MR. HWANG: I'm going to
25   that, Don?                                      25   state something for the record.
                                                                             33 (Pages 126 - 129)
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                                      Page 130                                         Page 132
 1                KOHN                            1                 KOHN
 2   I'm going to go as long as I need            2   Picklet moment.
 3   to with Mr. Kohn.                            3       MS. COHEN: Don't do that,
 4       MR. MARDEROSIAN: Do whatever             4   Wook. Don't do that.
 5   you need to do.                              5       MR. HWANG: I'm going to make
 6       MR. HWANG: However late into             6   a statement for the record
 7   the night --                                 7   whenever Mr. Marderosian breathes
 8       MR. MARDEROSIAN: You                     8   and I can make a statement without
 9   don't --                                     9   interruption.
10       MR. HWANG: -- into tomorrow.            10       Is that okay?
11       COURT REPORTER: Wait. One               11       MR. ZAKARIN: Don't ask --
12   at a time.                                  12       MR. MARDEROSIAN: Is what
13       MR. MARDEROSIAN: Your                   13   okay?
14   threats count nothing to me, Wook.          14       MR. HWANG: Can I make a
15   You complain about being a lawyer           15   statement without interruption
16   all the time. I could care                  16   right now?
17   less --                                     17       MR. MARDEROSIAN: You don't
18       MR. ZAKARIN: Please.                    18   have to ask for my permission
19       MR. MARDEROSIAN: -- how long            19   about anything. You're a lawyer
20   we have to stay here.                       20   that complains about work. I have
21       MR. ZAKARIN: Okay. Mick,                21   no respect for that. Zero.
22   you're wasting my time. You're              22       MR. HWANG: Can I make a
23   wasting everybody's time.                   23   statement now?
24       MR. MARDEROSIAN: Ask a                  24       I'm going to go as long as I
25   question then.                              25   need to with Mr. Kohn into the
                                      Page 131                                         Page 133
 1                 KOHN                           1                KOHN
 2       MR. ZAKARIN: You wouldn't                2   evening, into tomorrow.
 3   know how to ask a question if your           3       So to the extent that
 4   life depended on it.                         4   precludes any testimony you need
 5       MR. MARDEROSIAN: Don, you                5   to take from Mr. --
 6   opened the door by arguing with              6       MR. MARDEROSIAN: You're not
 7   the witness that it's speculation.           7   going into tomorrow.
 8   If you don't do that, you won't              8       MR. HWANG: Absolutely --
 9   have to encounter any of this.               9       MR. MARDEROSIAN: That's not
10       Act appropriately as a                  10   what the --
11   experienced lawyer in asking                11       MR. HWANG: -- I'm going into
12   questions and eliciting answers             12   tomorrow.
13   based on this expert's opinion,             13       MR. MARDEROSIAN: No, you're
14   just like I did yesterday.                  14   not.
15       MR. ZAKARIN: You did what?              15       MR. HWANG: Absolutely. I'm
16       MR. MARDEROSIAN: Just like I            16   going to get --
17   did yesterday.                              17       MR. MARDEROSIAN: You get --
18       MR. ZAKARIN: What is --                 18       COURT REPORTER: Gentlemen,
19       MR. MARDEROSIAN: In spite of            19   one at a time, please.
20   all of your interference, I got             20       MR. MARDEROSIAN: It's going
21   all I needed to get out of your             21   to be until we're done.
22   own experts because you didn't              22       MR. HWANG: I'm going as long
23   prepare them correctly.                     23   as I need to with Mr. Kohn.
24       MR. ZAKARIN: I feel like                24       MR. MARDEROSIAN: Yeah.
25   I've walked into a Mr. Mick's               25       MR. ZAKARIN: You don't even
                                                                          34 (Pages 130 - 133)
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                                              Page 154                                                  Page 156
 1                    KOHN                                1                      KOHN
 2      A I'm trying to think back to                     2           It is an incomplete
 3   the names. I think it's Quello and                   3       hypothetical. It's vague and
 4   Ernesto -- no, Jose -- I'm thinking of               4       overbroad.
 5   something else. Cuervo.                              5       Q You can answer the question.
 6          Okay. It's just a vague                       6       A I disagree with the expert
 7   recollection that I have.                            7   reports provided by the defendant in
 8      Q You have a vague recollection                   8   the case who the experts in which -- in
 9   that there's deposition testimony to                 9   which the experts took the position
10   the effect that there was no such                   10   that there's no custom and practice in
11   online system, so that it got dealt                 11   the music publishing or music
12   with in the 2011 agreement through the              12   production library business of not
13   specific registration requirement?                  13   correcting cue sheets.
14      A Yes.                                           14           I do believe that there is a
15      Q If I understand the thrust of                  15   custom and practice of correcting cue
16   what you're saying then, and please                 16   sheets, especially when the cue sheet
17   correct me if I'm wrong, it's that, in              17   missed information, missed corrections
18   fact, there was no specific                         18   and manipulated incorrectly through
19   registration provision in the 2010                  19   metadata, however we want to discuss
20   agreement, there was this cue sheet                 20   that in terms of before, was caused by
21   preparation provision --                            21   the music publisher. So I -- if there
22      A Right.                                         22   is -- if the composer's name is wrong,
23      Q -- and then it got corrected                   23   there's a likelihood that the money is
24   or addressed in the 2011 agreement in               24   going to not be paid or be misdirected
25   Paragraph 4.8 that we just read?                    25   to someone other than the songwriter.
                                              Page 155                                                  Page 157
 1                 KOHN                                   1                     KOHN
 2      A      Right.                                     2          And it's as between the
 3      Q      Thank you.                                 3   songwriter and the publisher. It is
 4           I just wanted to understand                  4   not the songwriter's responsibility to
 5   what you were saying.                                5   do it. It's the -- to administer these
 6           MR. MARDEROSIAN: I think the                 6   properly, the cue sheets, but it's the
 7       witnesses he was referring to is                 7   music publisher's responsibility. So
 8       Jose Quello, Q-U-E-L-L-O, and                    8   if a major source of the income of the
 9       Ernesto Elias.                                   9   songwriter under the bargain that has
10           MR. ZAKARIN: I can't swear                  10   been entered into under both the 2010
11       you, but it doesn't matter. It                  11   agreement and the 2011 agreement is for
12       either was testified to, or it                  12   them to get their performance royalties
13       wasn't. We know who they are.                   13   from BMI, those cue sheets have to be
14       It's the Viacom witnesses.                      14   entered correctly and they have to have
15       A Thank you.                                    15   their composer's name on it, not
16       Q Again in Exhibit 3, if you                    16   something like Mix Tape or something
17   would, and other than whether there is              17   else.
18   an implied obligation or not, can you               18          So it is the responsibility
19   tell me any provision in the 2011                   19   of the publisher to perform those
20   contract which required Viacom to check             20   administrative duties so that the
21   any cue sheets that were filed with                 21   songwriter gets the benefit of the
22   BMI?                                                22   bargain.
23           MR. MARDEROSIAN: I'm just                   23       Q We're going to deal with the
24       going to object. Calls for a                    24   custom and practice pretty much right
25       legal opinion and conclusion.                   25   now that you just said exists. But
                                                                                       40 (Pages 154 - 157)
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                                               Page 158                                                  Page 160
 1                    KOHN                                 1                 KOHN
 2   that wasn't my question.                              2   any industry --
 3          My question was simply, other                  3       Q Yeah.
 4   than there, you know, being some                      4       A -- is what is typically done
 5   implied obligation or you say there's                 5   in connection with performing one's
 6   custom and practice, is there any                     6   obligations under contracts or
 7   provision in the agreement that                       7   performing one's obligations to
 8   requires Viacom to check the cue sheets               8   maximize the revenues or minimize the
 9   for accuracy? That's my question.                     9   costs for the business in question.
10          MR. MARDEROSIAN: I'm going                    10       Q So custom and practice is
11      to object. It's been asked and                    11   something that in an industry is
12      answered.                                         12   typically done by most companies in an
13          It calls for a legal opinion                  13   industry; is that right?
14      and conclusion.                                   14           MR. MARDEROSIAN: I'm just
15          The document speaks for                       15       going to object. It misstates the
16      itself, and it is an incomplete                   16       testimony. It's vague and
17      hypothetical and inconsistent with                17       ambiguous.
18      the facts of this case.                           18       Q You can answer.
19      Q You can now answer the                          19       A I would say that custom and
20   question.                                            20   practice is performed by companies in
21      A Okay. I am satisfied with my                    21   the industry who conform to their
22   previous answer, and the document                    22   obligations to fulfill the terms of the
23   speaks for itself.                                   23   contract, the bargains they've made and
24      Q Well, I'm not satisfied; but                    24   their implied obligations of good faith
25   you're satisfied. So I will move on.                 25   and fair dealing with those they
                                               Page 159                                                  Page 161
 1                    KOHN                                 1                 KOHN
 2          Now, Mr. Kohn, in defining                     2   contract with.
 3   custom and practice in an industry, I                 3        Q So isn't that a circular
 4   want to understand how you define                     4   definition, which is, custom and
 5   custom and practice. Does it mean that                5   practice is only that which the
 6   a custom and practice is something that               6   companies do who are properly doing
 7   some company in the industry does                     7   something as opposed to everybody else?
 8   sometimes, or is it something that all                8           MR. MARDEROSIAN: I'm going
 9   companies in the industry invariably do               9        to object to the question.
10   as a matter of consistent practice?                  10        Q Isn't that a circular
11          MR. MARDEROSIAN: Object to                    11   definition?
12       the question as it's vague and                   12           MR. MARDEROSIAN: The
13       overbroad.                                       13        question is argumentative. It's
14          It's an incomplete                            14        vague and overbroad.
15       hypothetical, and it calls for a                 15        A It's not a circular
16       legal conclusion.                                16   definition. It's a definition to a
17          MR. ZAKARIN: Let me do it                     17   term which you've even tried to
18       differently.                                     18   characterize in such abstract means. I
19       Q Tell me what your definition                   19   think the discussion is better had in
20   is of custom and practice.                           20   determining whether some particular
21          MR. MARDEROSIAN: In what                      21   activity is a custom and practice in
22       regard to what topic?                            22   the industry or not.
23          I object. It's vague.                         23        Q So you've given me your
24       Q You can answer the question.                   24   definition. Your definition is that
25       A Well, custom and practice in                   25   it's a -- custom and practice is
                                                                                        41 (Pages 158 - 161)
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                                               Page 162                                           Page 164
 1                   KOHN                                  1                      KOHN
 2   something that's typically performed by               2           MR. ZAKARIN: I did.
 3   companies in the industry who conform                 3           MR. MARDEROSIAN: We don't
 4   to their obligations to fulfill the                   4       need reactions like that.
 5   terms of the contract had the bargains                5           MR. ZAKARIN: Mick, you don't
 6   they've made in their implied                         6       lecture my colleagues, please.
 7   obligations, good faith and fair                      7           MR. MARDEROSIAN: I'm -- I'm
 8   dealings with those they contracted                   8       not lecturing him as your
 9   were, I guess, performed; is that                     9       colleague. I'm lecturing him as
10   right?                                               10       an opponent --
11       A I'm not sure that's a                          11           MR. ZAKARIN: Okay.
12   precise --                                           12           MR. MARDEROSIAN: -- in the
13       Q I read --                                      13       room.
14       A I know what you read.                          14           MR. ZAKARIN: You can lecture
15       Q Okay.                                          15       me.
16       A But what you read doesn't                      16           MR. MARDEROSIAN: Don, just
17   sound like what I said.                              17       let it -- just let it go.
18       Q Well, then would you                           18   BY MR. ZAKARIN:
19   please --                                            19       Q Let's -- if it's improperly
20       A So it might not have been                      20   or incorrectly transcribed in any way,
21   transcribed properly.                                21   I want to have this clear on the
22       Q Could you please say it again                  22   record.
23   so we make -- so we know?                            23           MR. MARDEROSIAN: Make fun of
24       A I don't want to say two                        24       us all you want. There's going to
25   things different.                                    25       come --
                                               Page 163                                           Page 165
 1                   KOHN                                  1                  KOHN
 2          MR. MARDEROSIAN: Let's --                      2        MR. ZAKARIN: Mick --
 3      Ross, don't do that. Hold on.                      3        MR. MARDEROSIAN: -- a day,
 4      Let's just wait. There's too many                  4    Ross, you're not going to be
 5      eye rollings and too many -- you                   5    making fun of us. I'm going to
 6      have to stop doing that. It's not                  6    tell you right now --
 7      professional and I'm not going to                  7        MR. ZAKARIN: Mick, I'm
 8      sit here I'm going to tell you,                    8    trying to --
 9      and experience that anymore.                       9        MR. MARDEROSIAN: -- so just
10          MR. ZAKARIN: He's not                         10    stop it.
11      rolling his eyes.                                 11        MR. ZAKARIN: Mick, can I
12          MR. MARDEROSIAN: Yes, he is.                  12    please go forward with this
13      And Heather has seen it and others                13    deposition?
14      have seen it, and it's being done.                14        MR. MARDEROSIAN: Yes. I --
15      And it's not professional.                        15    I really would appreciate that.
16          Let all come to an agreement                  16        MR. ZAKARIN: I'm trying.
17      not to do that, either side.                      17    Trust me. I am.
18      Either side. Ask your                             18        MR. MARDEROSIAN: I know you
19      questions --                                      19    are.
20          MR. ZAKARIN: I did.                           20    Q Let's go through your
21          MR. MARDEROSIAN: -- just get                  21 definition of custom and practice
22      the responses.                                    22 against, sir, because it's important to
23          MR. ZAKARIN: I did.                           23 have on the record.
24          MR. MARDEROSIAN: We don't                     24        MR. MARDEROSIAN: Just -- I'm
25      need reaction.                                    25    going to object. It's been asked
                                                                                     42 (Pages 162 - 165)
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                                               Page 170                                                  Page 172
 1                    KOHN                                 1                    KOHN
 2   now told us. So we can move on.                       2          And then you say going down,
 3          MR. MARDEROSIAN: Just for                      3   the last bullet point, it is the custom
 4      the record, I'm going to --                        4   and practice of music publishers to
 5      A And --                                           5   review cue sheets for accuracy and
 6          MR. MARDEROSIAN: -- excuse                     6   correct any mistakes. This is true of
 7      me -- I'm going to object. That                    7   even publishers who consider themselves
 8      was a misstate of what he said.                    8   to be music production libraries.
 9      And it's vague and ambiguous.                      9          Those are your statements in
10      A Typically done --                               10   your report. And when you refer to
11          MR. ZAKARIN: Okay. The                        11   custom and practice there, is that the
12      record will reflect it.                           12   custom and practice as you've just
13      A You didn't finish what I had                    13   previously defined it?
14   said. But it's typically done in                     14       A I don't understand the
15   compliance -- I might have said                      15   question. Say that again.
16   earlier, in conformance, but I may have              16       Q You've said -- you used the
17   misspoke -- but in compliance with                   17   term "custom and practice." Is that --
18   obligations that you have both express               18   is your use of the term "custom and
19   obligations and implied obligations                  19   practice" there consistent with the
20   with respect to those people that you                20   definition that you gave me just a few
21   are contractually dealing with in the                21   minutes ago, or is it anything
22   industry. Or to perform your duties                  22   different?
23   correctly for the sake of the company                23       A I think it is. I think it
24   that you're working for or for those                 24   is.
25   whom you're working for, such as                     25       Q It is consistent?
                                               Page 171                                                  Page 173
 1                   KOHN                                  1                      KOHN
 2   shareholders or employees or                          2       A It would -- it sounds
 3   songwriters and other third parties you               3   consistent.
 4   may be contracting with.                              4       Q Now, what I want to
 5       Q On Page 10 -- turn to Page 10                   5   understand is the factual basis for
 6   of your report if you would. I'm going                6   your statement. Let's -- these are a
 7   to read you a couple of things that you               7   couple of statements. Let's deal with
 8   said on the same topic.                               8   the last one.
 9          Top of the page you say, it                    9           It is the custom and practice
10   has long been the responsibility of the              10   of music publishers to review cue
11   songwriter's music publisher to monitor              11   sheets for accuracy and correct any
12   the cue sheets, submit it to the DROs                12   mistakes. This is true of even
13   and with the advent of cable television              13   publishers who consider themselves to
14   and the platform it has provided to                  14   be production music libraries.
15   independent television producers, the                15           What's the factual basis for
16   responsibility for reviewing cue sheets              16   your statement of that being the custom
17   for accuracy has now become a routine                17   and practice?
18   part of a music publisher's basic                    18       A The -- in terms of production
19   responsibilities.                                    19   music libraries, I actually didn't
20          You then go on and say in the                 20   mention earlier that I meant to do, but
21   next bullet point, as between the music              21   I -- I first learned the word -- what
22   publisher, the PRO and the songwriter,               22   the word "cue sheet" was when sitting
23   the publisher bears responsibility for               23   with my uncle who actually had a stack
24   making sure the cue sheets are filed                 24   of them and he explained to me what
25   with the proper PRO and are accurate.                25   they were. And he was -- he was
                                                                                        44 (Pages 170 - 173)
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                                           Page 174                                                  Page 176
 1                    KOHN                             1                    KOHN
 2   reviewing them.                                   2        Q   That's not what he said.
 3           I don't have any specific                 3        A   Yes, he did.
 4   recollection of what they -- where they           4        Q   Okay.
 5   were from and where they got them. It             5        A   He said -- that's the job of
 6   was actually paper that he got. It                6   --
 7   would have -- back in the '80s. Then              7       Q Whatever it says, it says.
 8   maybe ASCAP would have sent it to him.            8       A That's the job -- that's the
 9   But if he didn't make sure that the cue           9   job of commercial publishers. The CEO
10   sheets were filed properly with ASCAP,           10   of Extreme said it himself. So one of
11   he wouldn't have gotten the performance          11   the basis of my customs and practices
12   money on the back end, which is what he          12   is your own CEO saying in his
13   was explaining to me. Because he                 13   deposition that Sony ATV does it.
14   talked -- he told me what a needle drop          14          Dan Pounder in his
15   was. That he might charge $200 for a             15   declaration said that we don't have the
16   needle drop. And I go that doesn't               16   resources to do it like Sony ATV does.
17   sound like a lot of money. How do you            17   I read that. Okay?
18   make money on this? And he says I get            18          So why don't you ask your own
19   it all in the back end. And that                 19   client why they don't follow the
20   morning he had a stack of cue sheets,            20   customs and practices of the industry
21   whatever. And I didn't quite fully               21   that their own parent company follows
22   understand it at the time. Maybe over            22   as well. They say -- they chose not to
23   the years I got a better understanding           23   do it because they say they don't have
24   of that.                                         24   the resources. If they --
25       Q Who else --                                25       Q I'm sorry. I didn't want to
                                           Page 175                                                  Page 177
 1                KOHN                                 1                    KOHN
 2      A Now --                                       2   interrupt you.
 3      Q I'm sorry. I didn't want to                  3      A So the basis -- I've been to
 4   interrupt you.                                    4   panels. I have discussed this with
 5      A Just so it is on the -- as I                 5   people in the industry over the past 35
 6   mentioned in the third bullet on the              6   years since writing the book about how
 7   this page, according to BMI without cue           7   to make sure -- the whole book is Kohn
 8   sheets, it would be nearly impossible             8   on Music Licensing, there's a theme in
 9   for such composers and publishers to be           9   the book is that you shouldn't be --
10   compensated for their work. The ASCAP            10   that you should be willing to license
11   website says the same thing and                  11   your music out there so that you get
12   actually uses the term "production               12   the back end public performance
13   music libraries" in the sentence.                13   royalties. Everyone knows. It's plain
14          COURT REPORTER: Uses the                  14   as sight. It's on the ABMI and ASCAP
15      term?                                         15   websites. You can't be a production
16      A Production music libraries in               16   music library or a music publisher and
17   the sentence.                                    17   miss it, that if you don't have cue
18      Q Okay.                                       18   sheets on file, you're not going to be
19      A So the ASCAP website says it.               19   getting the largest piece of the income
20   The BMI website says it. Your client,            20   that music publishers make.
21   the CEO of Extreme in his deposition             21          So for your client to say
22   said that's not something we do, they            22   bizarrely to me, bizarrely to the
23   do that over at Sony ATV.                        23   court, bizarrely to the songwriters
24      Q Huh-uh.                                     24   that they represent that they don't
25      A Yes, he did.                                25   have any responsibility, and for you to
                                                                                        45 (Pages 174 - 177)
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                                               Page 178                                              Page 180
 1                   KOHN                                  1                    KOHN
 2   bring in expert witnesses who dare --                 2       interrupt the witness.
 3   the head of APM, okay, filed an expert                3       A I am done.
 4   report in this case. He's a production                4       Q Oh, okay. Well, now we'll go
 5   music library, and he denies any                      5   back.
 6   responsibility.                                       6          So in addition to your uncle
 7           Of course he's going to come                  7   who you sat with about 30 years ago and
 8   in -- you brought in an expert who's                  8   he had a stack of cue sheets on his
 9   the CEO of a production music library                 9   desk, what other production music
10   to tell you what -- the practices in                 10   libraries have you either talked to or
11   the industry. Of course he's going to                11   found out as a matter of custom and
12   say that we don't do it. That's not                  12   practice reviewed cue sheets, any
13   the practice, because he doesn't want                13   others?
14   to do the work.                                      14       A I don't remember any others.
15           You have -- you have                         15   I met Adam --
16   yesterday, the expert witness that you               16       Q Thank you. That's enough.
17   brought in yesterday that I sat in on                17       A I --
18   and, that's Mr. Katz. He was on the                  18          MR. MARDEROSIAN: Wait. What
19   board of APM. He also acquired a                     19       do you mean that's enough?
20   production music library called First                20          MR. ZAKARIN: No, no, that's
21   Com. And he sat there brazenly telling               21       enough.
22   Mr. Mardosian's [sic] --                             22          He's answered it. He's
23       Q Marderosian.                                   23       answered the question.
24       A -- Marderosian's client that                   24          MR. MARDEROSIAN: No, he
25   they have no responsibility either to                25       hasn't.
                                               Page 179                                              Page 181
 1                   KOHN                                  1                    KOHN
 2   do it. He's saying it's custom --                     2       A No, I didn't say I didn't
 3   there's no custom and practice in the                 3   talk to production music libraries. I
 4   industry.                                             4   met Adam Taylor a number of years ago.
 5          If you read books like Todd                    5   I don't -- I talked about his
 6   Brabec, who you called a putz the other               6   production music library. I don't
 7   week at a deposition, which was                       7   remember having discussed with him, but
 8   appalling and it was insulting to me                  8   I might have discussed with him what he
 9   and the people that I know in the music               9   does and how he does it. There are
10   industry --                                          10   lots of people -- how do you think I
11       Q Uh-huh.                                        11   wrote Kohn on Music Licensing?
12       A -- in his book he says that                    12   Virtually every word in that book,
13   it's customs and practice in the music               13   other than the forms, without having
14   industry. You don't have to be around                14   discussed with everybody in the music
15   much to understand that it is custom                 15   industry that I was in touch with
16   and practice for production music                    16   whether it was my uncle, my father,
17   libraries and music publishers as their              17   Barry Massarsky sitting at the end of
18   basic responsibility to make sure the                18   the table, other people that I learned
19   biggest source of income gets paid to                19   from, what custom and practice in the
20   the songwriters.                                     20   music industry are? How could I have
21       Q Okay. Are you done?                            21   possibly have described terms of art?
22          MR. MARDEROSIAN: Well,                        22       Q Damned if I know.
23       that's argumentative.                            23       A How can I sit here and give
24          MR. ZAKARIN: I just wanted                    24   you answers to your questions on issues
25       to know because I don't want to                  25   like Sound Exchange and other things if
                                                                                       46 (Pages 178 - 181)
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                                               Page 182                                                  Page 184
 1                    KOHN                                 1                   KOHN
 2   I didn't talk to a lot of people in the               2   that I remember specifically.
 3   music industry to know what a custom                  3           How would I be able to write
 4   and practice in the music industry is                 4   about these things in the book without
 5   or it isn't?                                          5   having talked to people about what they
 6           How does a federal judge in                   6   do for a living? And that's what I
 7   Los Angeles in federal court accept my                7   did --
 8   testimony as customs and practice in                  8       Q Do you write --
 9   the music industry as to the                          9       A -- for over 35 years.
10   interpretation of the ASCAP contract                 10       Q -- do you write in the book
11   with respect to performances in venues               11   about the custom and practice of music
12   across the country?                                  12   production library companies receiving
13       Q Are you done? I don't want                     13   and reviewing cue sheets?
14   to interrupt you.                                    14       A No, I do not specifically --
15       A That's not the -- I was                        15       Q Okay.
16   obviously done.                                      16       A -- cover in the book cue
17       Q I can't tell.                                  17   sheets. I can't cover every single
18           Now, so we've established                    18   custom and practice in the music
19   that you didn't talk to any production               19   industry. Now I will. And in the next
20   music companies or find out what they                20   version of the book, which will be
21   do --                                                21   coming out next year, is going to be
22       A That's not true.                               22   talking about this. And I'm going to
23       Q -- but you talked --                           23   use this as an example of how
24           COURT REPORTER: I'm sorry.                   24   songwriters can be mistreated by their
25       You didn't talk -- I'm sorry.                    25   publishers, and particularly production
                                               Page 183                                                  Page 185
 1                    KOHN                                 1                    KOHN
 2      Talk to any --                                     2   music libraries not just for not
 3      Q Music production library                         3   reviewing cue sheets but for the
 4   companies --                                          4   shenanigans that have been going on in
 5          COURT REPORTER: Music                          5   this -- this case with your CEO.
 6      production library companies.                      6       Q I look forward to it. And
 7      Q -- to find out what they do                      7   look forward to reading it. I may even
 8   as a matter of custom and practice?                   8   buy it.
 9      A I -- that's not the                              9           Now --
10   testimony.                                           10       A I would hope you --
11      Q Besides your uncle?                             11       Q -- did you contact --
12      A That's not my testimony.                        12       A -- copyright.
13   That's not my testimony.                             13       Q -- any music publishers to
14      Q It's what --                                    14   find out about whether they engage in
15      A No, it's not my testimony.                      15   this custom and practice of receiving
16          I have talked to production                   16   and reviewing cue sheets? Any music
17   music libraries, people who work for --              17   publishers, not production music
18      Q Who?                                            18   libraries, but music publishers? Have
19      A I even met -- I can't tell                      19   you gone --
20   you the names of the companies. I                    20       A I haven't --
21   can't tell you the names of the                      21           COURT REPORTER: I need a
22   companies. I can't tell you the                      22       full question, please. If you
23   individuals involved in those                        23       wait until he finishes --
24   companies. I told you I met with Adam                24       Q Have you contacted -- right.
25   Taylor. That's one name that came up                 25   Have you contacted any of them to find
                                                                                        47 (Pages 182 - 185)
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                                            Page 186                                                  Page 188
 1                 KOHN                                 1                    KOHN
 2   out?                                               2       used the word "survey." He's
 3       A Since I was engaged in this                  3       asking you to define what you mean
 4   case, no.                                          4       by survey so he can answer your
 5       Q Did you do a survey of any                   5       question.
 6   production music libraries or music                6       Q Yeah. Did you -- did you
 7   publishers?                                        7   submit questionnaires to music
 8       A Since I've been engaged in                   8   publishers -- you didn't talk to
 9   this case, no.                                     9   them -- but did you submit
10       Q Did you do a survey before                  10   questionnaires or some sort of document
11   you were engaged in this case?                    11   to music publishers or production music
12       A It depends on what you mean                 12   libraries to find out if they engaged
13   by "survey." If it means that --                  13   in this custom and practice of
14       Q A survey to find --                         14   reviewing --
15       A If it means that --                         15       A I --
16       Q Let me finish.                              16       Q -- receiving, reviewing and
17           You're asking me. So I'm                  17   correcting cue sheets?
18   going to tell you.                                18       A I submitted questionnaires,
19       A Go ahead.                                   19   no more than the expert witnesses that
20       Q A survey to determine whether               20   you have put forth have submitted
21   it's a custom and practice of music               21   questionnaires to provide answers to
22   publishers to receive and review and              22   their questions.
23   correct cue sheets.                               23       Q So the answer is no?
24       A You didn't define survey.                   24       A That's right.
25   Try again.                                        25       Q Okay. That's all we need to
                                            Page 187                                                  Page 189
 1                KOHN                                  1                 KOHN
 2    Q Do you want to know what a                      2   know.
 3 survey is?                                           3          Now, on Page 8 -- we're going
 4    A Yes.                                            4   back for a second. You talk about the
 5       MR. MARDEROSIAN: Okay.                         5   50 percent of gross receipts, correct?
 6    We're getting conversational                      6       A I'm sorry? Where do I talk
 7    again.                                            7   about it?
 8       MR. ZAKARIN: No, no.                           8       Q Page 8, you talk about, in
 9       MR. MARDEROSIAN: Maybe we                      9   the second bullet point. It's the
10    need -- maybe we need another                    10   50 percent of gross receipts. I'm just
11    break.                                           11   trying to orient you. The obligation
12       MR. ZAKARIN: No. No break.                    12   to pay 50 percent of gross receipts.
13    A We don't need a break.                         13       A Correct. Based on Page 8.
14       MR. MARDEROSIAN: Hold on                      14       Q Page 8, the second bullet.
15    everybody. Let's go back to                      15   I'm just trying to --
16    questions and answers.                           16       A Got it.
17       MR. ZAKARIN: I want to know                   17       Q -- work with -- you know, I'm
18    what the witness means by survey.                18   just trying to orient the witness.
19    That's all.                                      19   Okay.
20       MR. MARDEROSIAN: So, Don, he                  20          Now, under Exhibit 3, K3, the
21    told you about what he went                      21   payment of gross receipts is not
22    through in writing his book and                  22   unlimited. There are conditions,
23    the people that he talked to.                    23   aren't there?
24       MR. ZAKARIN: I heard him.                     24          MR. MARDEROSIAN: Objection.
25       MR. MARDEROSIAN: Now, you                     25       Calls for a legal opinion and
                                                                                    48 (Pages 186 - 189)
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                                           Page 366                                                 Page 368
 1                   KOHN                              1                  KOHN
 2   first got involved in the case I took a           2   many unique syncs that it was.
 3   look at the TuneSat data and came up              3       Q So back of the envelope?
 4   with about 16,000 unique syncs or                 4       A Back of the envelope would be
 5   unique programs that contained those              5   a good way to put it.
 6   musical works that are part of the --             6       Q Now, did you listen to any of
 7       Q Original broadcasts, you're                 7   the audio clips?
 8   saying?                                           8       A Yes, I did.
 9       A You know, I don't like                      9       Q And were you able to make an
10   original broadcasts. But you could say           10   assessment of how many of the
11   unique programs that contain the                 11   detections you identified were promos
12   musical work that were broadcast,                12   as compared to in-program uses or
13   right, once. And not including all the           13   didn't you do that?
14   other broadcasts of the same programs.           14       A I did. Well, I didn't -- I
15   I came up with about 16,000.                     15   would have had to have listened to
16       Q Now as I recall the --                     16   16,000 individual, which I didn't do
17          MR. MARDEROSIAN: You were                 17   because I wasn't asked to do that. And
18       done?                                        18   it would have taken my time and it
19          THE WITNESS: Yes.                         19   wouldn't have been worth the effort.
20       Q As I recall Aron and Robert                20   But I saw there was a good mix. There
21   said there were about 30,000 to 33,000           21   was certain in-program uses of music
22   total detections; is that right?                 22   and there were promos being
23       A That sounds about right.                   23   advertisements for it. They were a
24       Q So -- and of that it's your                24   good mix of it. I don't think I -- I
25   testimony that about half of them were           25   might have looked at a the Land Rover
                                           Page 367                                                 Page 369
 1                     KOHN                            1                   KOHN
 2   just unique original broadcast?                   2   commercial and the Starbucks commercial
 3       A I told you I did a rough                    3   in there. I might have found it. I
 4   pivot table which took the data and did           4   might have listened to it, but I don't
 5   a rough on that. There is another way             5   remember.
 6   that I didn't do where you can strip              6          But I poked around it to see
 7   out on how it goes on multiple                    7   what was there but I did not do what
 8   networks. Okay? Because as you                    8   you had asked me. And I did not do a
 9   mentioned earlier, you can have a                 9   calculations as to how much were this
10   particular program on the TuneSat that           10   kind and how much were that kind.
11   happened to be broadcast on Turner in            11       Q Turn to Exhibit B of your
12   the United States and then broadcasted           12   report, if you would.
13   on some German station some time later.          13          (Whereupon, a brief recess
14           I didn't go to the length of             14       was taken.)
15   stripping out the multiple networks              15       Q Okay.
16   that it could be. But when I looked at           16          I think when we broke, I had
17   the data, 67 percent were the United             17   asked you to look at your Exhibit B --
18   States. A program that was on MTV was            18       A Yes.
19   likely to be on MTV. So if I came up             19       Q -- to your report. Do you
20   with 16,000, I'm looking at maybe                20   recall? Pull it out.
21   there's 15,000 that I could strip -- if          21       A Okay. Exhibit B.
22   I had to strip out some duplicates on            22       Q And you say these are unique
23   alternative networks around the world.           23   TuneSat detections?
24           So it was a -- it was a quick            24       A That's what the title of it
25   look at it to give me an idea of how             25   is.
                                                                                    93 (Pages 366 - 369)
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                                               Page 370                                             Page 372
 1                  KOHN                                   1                   KOHN
 2      Q Are they unique?                                 2   what unique is.
 3      A Yes. That's my understanding                     3      Q Do you know how many of these
 4   of what they are. I didn't produce                    4   detections -- I assume you're going to
 5   these.                                                5   know the answer -- are Viacom
 6      Q You didn't --                                    6   detections, detections of broadcasts on
 7      A No.                                              7   Viacom networks?
 8      Q -- create this document?                         8      A I could do that.
 9      A No.                                              9      Q You could pull it out from
10      Q So somebody else created it,                    10   the list?
11   and told you what it was?                            11      A Right. Like MTV Classic is
12      A Well, I was given it by                         12   MTV2. MTV -- we can probably pull out
13   attorneys; and I understand that Karen               13   and add the numbers up.
14   Rodriguez had prepared it.                           14      Q So we can add up what the
15      Q Okay.                                           15   total number of MTV detections are?
16          And the total number of                       16          MR. MARDEROSIAN: Well, he
17   detections when you add them up are                  17      said he did not prepare this.
18   about 21, nearly 22,000, correct?                    18          MR. ZAKARIN: I understand.
19   You've got 6,848 and 15,093.                         19          MR. MARDEROSIAN: And I think
20      A Fifteen plus six, yeah, about                   20      that's a question for Karen
21   22,000, something like that.                         21      Rodriguez.
22      Q I said about 22,000 or close                    22          MR. ZAKARIN: Well, the
23   to 22,000.                                           23      problem is it's attached to his
24          And you multiplied $200                       24      report.
25   against every one of these detections?               25          MR. MARDEROSIAN: I think
                                               Page 371                                             Page 373
 1                 KOHN                                    1                  KOHN
 2      A Yeah.                                            2     just to be fair about it, I think
 3      Q But you don't know if these                      3     he relied on it on a specific
 4   are unique detections, correct?                       4     narrow topic in his report, Don.
 5      A Well, it says unique                             5     And that was the extent of his use
 6   detections. And I understood them to                  6     of this document.
 7   be unique detections. I had previously                7         But you can ask whatever you
 8   given a back of the envelope done in my               8     want, but I think these are
 9   own way, way back in February when I                  9     questions for Karen Rodriguez.
10   started working on the case and using                10         MR. ZAKARIN: Unusually, you
11   data that went all the way back to 2013              11     know, I ask witnesses about their
12   or something like that. And -- like I                12     reports and other witnesses about
13   said. So when I saw these numbers I                  13     their reports. And if he relied
14   said it's in the realm of -- again, I                14     upon somebody else to do something
15   did back of the envelope and I just                  15     and he's basically just, in
16   took these as what it was.                           16     effect, saying what somebody has
17      Q But now they've gone up by                      17     told him, I'm entitled to know
18   some nearly 7,000 from your number?                  18     that. That's all.
19      A Apparently.                                     19         MR. MARDEROSIAN: I get that,
20      Q And you don't know whether                      20     absolutely. But the operative
21   they are or not unique detections?                   21     phrase is do something and I'm
22      A I'm not the one who generated                   22     saying you should ask him what it
23   this. So I don't know whether they're                23     is that he used it for.
24   unique in the way that you and I have                24         MR. ZAKARIN: I know what he
25   been talking about my understanding of               25     used it for. It's in his report.
                                                                                      94 (Pages 370 - 373)
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                                           Page 374                                              Page 376
 1                   KOHN                              1                    KOHN
 2          Anyway, let's continue on.                 2      because I want to object to it
 3      Q In terms of -- so we could                   3      before you agree to it.
 4   figure out which are Viacom channels              4      Q -- they have to get backed
 5   and therefore which are Viacom                    5   out?
 6   detections, correct?                              6          MR. MARDEROSIAN: I'm going
 7      A Yes, if we knew what Viacom's                7      to object.
 8   channels are.                                     8          It's an incomplete
 9      Q For which you applied $200                   9      hypothetical, and it doesn't
10   for each and every one of the                    10      include the fact that there's
11   detections, correct?                             11      evidence that Extreme is taking
12      A Well, are you just saying the               12      Aron and Robert's own publishing
13   same thing for each -- yeah, I used the          13      for Lonely Orchard and Brothers
14   total numbers here and multiplied it by          14      Heathen.
15   $200.                                            15      Q You can answer my question as
16      Q And in terms of these                       16   opposed to the rhetoric there.
17   detections, do you know how many are             17      A My understanding is that
18   not works that were delivered to Viacom          18   these were unique detections of
19   Extreme but are owned by others                  19   music -- musical work, sound recordings
20   including the plaintiffs?                        20   that were created by Aron and Rob and
21          MR. MARDEROSIAN: Objection.               21   delivered under the contract.
22      Vague.                                        22      Q But in fact you don't know
23      Q You know that the plaintiffs                23   whether these were, in fact, delivered
24   self-published works, right?                     24   or are self-published?
25      A Yes.                                        25          MR. MARDEROSIAN: I'm just
                                           Page 375                                              Page 377
 1                    KOHN                             1                     KOHN
 2      Q Do you know how many of these                2       going to object.
 3   detections are of the plaintiffs'                 3           It's an incomplete
 4   self-published works?                             4       hypothetical and vague.
 5      A I think -- I didn't generate                 5       Q You can answer.
 6   this. So I don't have the underlying              6           MR. MARDEROSIAN: And doesn't
 7   data that was used to generate this. I            7       include the issue over whether or
 8   wouldn't be able to answer any of those           8       not Extreme is taking the
 9   questions.                                        9       plaintiffs' published --
10      Q You with agree with me though               10       self-published songs.
11   that there's no reason to charge or              11       A And I don't know whether this
12   make a claim against Extreme or Viacom           12   is an underrepresentation and doesn't
13   for $200 per each of the plaintiffs'             13   include all of their songs that were
14   own works?                                       14   delivered and used.
15      A No.                                         15       Q So you don't know very much
16      Q Okay.                                       16   at all about this document?
17      A Absolutely not.                             17       A That's right.
18      Q So if the plaintiffs'                       18       Q Essentially, what you did is
19   self-published works or works published          19   you took the number of detections
20   by third parties are among these                 20   without knowing what they are and
21   detections --                                    21   multiplied each one by 200?
22      A Right.                                      22       A And that wasn't the essential
23      Q -- they have --                             23   part of my report. The essential part
24          MR. MARDEROSIAN: Hold on.                 24   of my report was coming up with the
25          Let him finish the question               25   $200 figure. If this wasn't included,
                                                                                   95 (Pages 374 - 377)
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                                               Page 378                                                  Page 380
 1                    KOHN                                 1                    KOHN
 2   it wouldn't have mattered because                     2   to each of these. So your view is, at
 3   whichever the true number is would be                 3   the very least, for the CBS promo use
 4   multiplied by $200. If it was --                      4   200 would be the right number?
 5   instead of 21,000, if it was 16,000, if               5       A 200 would be the right number
 6   it was 30,000, whatever that number is.               6   to use across the board for the
 7   And I'm sure enough good minds can get                7   detections -- unique detections that
 8   together and figure out using the                     8   were discovered during the period from
 9   TuneSat data what the proper number is.               9   mid-2014 to the present.
10       Q We'll come to the 200 in due                   10       Q But one of those is you look
11   course.                                              11   at CBS promo use and you figure they
12           In any event, if I understand                12   charge 120. I think 200 is the right
13   you correctly you -- it's your view                  13   one?
14   that the 200 is the right number for --              14       A Well, there might have been
15   for these -- for all of those                        15   an in-program use -- well, I call it an
16   detections, that's your opinion?                     16   in-program use -- that might have been
17           MR. MARDEROSIAN: Right                       17   worth $20,000 or worth more. But I
18       number for what?                                 18   picked 200 as an overall way of just
19       Q The right number for the sync                  19   going across the board to simplify it.
20   fee for each of these 200 detections                 20       Q Could you look at Exhibit A
21   that you have opined?                                21   of your report for a second. And we'll
22       A My report says what it says                    22   come back to that.
23   about the $200 number. We can turn to                23       A Yes.
24   it. I don't want to say anything                     24       Q Exhibit A, this you have done
25   that's inconsistent and be --                        25   all by yourself?
                                               Page 379                                                  Page 381
 1                   KOHN                                  1                 KOHN
 2      Q Well, let's look at Page 86                      2       A No.
 3   which is where I think come up with                   3       Q Who helped with you with this
 4   this.                                                 4   one?
 5      A Thank you. Thank you.                            5       A I had asked Rob and Aron to
 6      Q Okay.                                            6   come up with what they think are
 7      A That's helpful.                                  7   reasonable fees based upon their works.
 8      Q I think this is where you                        8   I asked them to send me license
 9   explain how you came up with your $200.               9   agreements that they had for their own.
10      A I'm there.                                      10   And I took their numbers and validated
11      Q Okay.                                           11   them. I didn't think -- I didn't
12          And if I -- I want to                         12   disagree with any of them.
13   characterize this correctly, what you                13       Q Did you examine the terms of
14   did was you looked at the license of                 14   those license agreements?
15   their works to CBS for a promo use for               15       A Yes.
16   $120, correct?                                       16       Q You don't know whether those
17      A Yes.                                            17   license agreements were provided to the
18      Q And you compared that to an                     18   defendants, do you?
19   in-program license use of one of their               19       A No.
20   own works, meaning Rob and Aron, for                 20       Q I was curious about a couple
21   $300. And you then -- and you                        21   of things.
22   reference to up to 20,000 for works                  22           MR. MARDEROSIAN: Do you know
23   they own control. You mentioned that.                23       if the defendants even asked for
24   And then you conclude, I think you just              24       those?
25   say I therefore applied the sum of 200               25           THE WITNESS: I don't know.
                                                                                        96 (Pages 378 - 381)
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                                               Page 386                                                  Page 388
 1                 KOHN                                    1                    KOHN
 2      not.                                               2   talks about needle drops. And
 3          MR. ZAKARIN: You're not                        3   basically that's about the -- that's
 4      testifying, Mick.                                  4   about the price that you would get,
 5          MR. MARDEROSIAN: You're                        5   $200.
 6      mischaracterizing the evidence and                 6       Q Okay.
 7      the document.                                      7          And so here for the CBS
 8      Q Here it's $10,000 that you                       8   promos the appropriate price is not
 9   think is the right amount or at least                 9   $200 but it's $10,000 for each promo,
10   Rob and Aaron figure was the right                   10   right? That's your -- that's what
11   amount and in Exhibit A it's $200?                   11   you've done here?
12      A There's a huge difference                       12       A No, but you're taking apples
13   between CBS and some cable channel --                13   and oranges.
14   Yes channels or some whatever. This is               14       Q Okay.
15   CBS. It's a network.                                 15          That's -- your testimony is
16      Q Take a look on Exhibit B, if                    16   whatever your testimony is there.
17   you will. Okay. Exhibit B again.                     17       A Okay. That's my testimony.
18   Unique TuneSat detections. Okay.                     18       Q Okay.
19          Do you see CBS is listed                      19       A I mean, you're trying to
20   right there?                                         20   suggest that these are the same thing.
21      A Okay.                                           21   When I take $200 and do it as an
22          But so is --                                  22   average some of them are CBS, which is
23      Q So now you've -- so CBS is                      23   a huge network, and some of them are
24   real different. You're including it.                 24   networks you've never heard of. NY9 I
25      A But so is something called                      25   never heard of. Maybe nobody watched
                                               Page 387                                                  Page 389
 1                     KOHN                                1                    KOHN
 2   GAC, which I've never even heard of.                  2   the NY9 and got $200 for the promo for
 3   What about the Oxygen channel -- the                  3   it.
 4   Ovation channel I've never heard of.                  4       Q Is the $10,000 that you put
 5   The Hub I've never heard of. Something                5   in there, is that also in your Exhibit
 6   called Showtime East, 1,674. This --                  6   B? Is it the same use as Exhibit B?
 7   when I have to apply -- I'm not going                 7       A I don't know.
 8   to go through every single one of                     8       Q So you could have a
 9   those. So I gave 200 to CBS, but I                    9   duplication there?
10   gave 200 to something called TLC.                    10       A I might have a duplication.
11       Q And you have no idea what                      11       Q You don't know that?
12   they do. You don't even know some of                 12       A Neither do you. I don't know
13   those broadcasters, right?                           13   whether I do.
14       A I don't -- I -- that's the                     14       Q Not my burden.
15   point.                                               15          Did you -- by the way on your
16       Q Okay.                                          16   Exhibit B, did you back out what was
17       A You know.                                      17   actually paid on any of those licenses?
18       Q So you just arbitrarily                        18       A I was not asked to do that.
19   picked the $200?                                     19       Q Okay.
20       A I didn't arbitrarily pick it.                  20          So you were just asked to
21   I picked it -- if you're going to                    21   come up with a gross number and put
22   take -- try to come up with a                        22   that forward as the damage claim?
23   reasonable amount that wasn't 120, that              23       A I was asked to come up with
24   wasn't 300, and I thought 200.                       24   the $200 amount. All right. I was
25   Basically if you look in my book, it                 25   given the unique numbers. I did the
                                                                                        98 (Pages 386 - 389)
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                                               Page 390                                                 Page 392
 1                    KOHN                                 1                 KOHN
 2   multiplication. It was towards the end                2       role.
 3   of this. I didn't have the information                3       A Yeah. I --
 4   to back it out. And I wasn't provided                 4       Q It's in his report.
 5   to -- but it. But it could be backed                  5       A I wasn't asked to back it
 6   out by somebody else.                                 6   out.
 7       Q Lots of things could be done,                   7          MR. MARDEROSIAN: Your
 8   but it wasn't done. So this is put                    8       question on this topic is not in
 9   forth -- you're aware that you've put                 9       his report.
10   this forth as a damage claim, $200                   10          You're mischaracterizing the
11   times 20 -- almost 22,000 detections?                11       evidence.
12       A Well, I also said to you that                  12          MR. ZAKARIN: Well, we'll
13   I'm not the one who came up with the                 13       see.
14   22,000 detections. All right?                        14       Q And you don't know whether
15       Q Is it your testimony --                        15   that 2,194,000 duplicates your other
16       A Somebody -- you know,                          16   number in Exhibit A in any respect, do
17   somebody else came up with that number               17   you?
18   and I came up with the $200. I made a                18          MR. MARDEROSIAN:
19   multiplication of the two numbers. One               19       Mischaracterizes the evidence.
20   number I came up with. Another number                20          Vague. Incomplete
21   somebody else came up with, and that's               21       hypothetical.
22   what I put in here.                                  22       A So if we backed out -- how
23       Q At the bottom of -- here,                      23   many uniques are on Exhibit A? Can we
24   based on my calculations, Page 86, Aron              24   count them? Two, four, six, ten, maybe
25   and Rob share of these broadcast                     25   30.
                                               Page 391                                                 Page 393
 1                   KOHN                                  1                    KOHN
 2   licensing fees for the 15,093 unique                  2       Q I'm more interested in your
 3   audiovisual works, it's really almost                 3   number.
 4   22,000 --                                             4       A Let me ask you this: There
 5       A Yeah.                                           5   are 30 of them there, right?
 6       Q -- in which their music was                     6       Q Yes.
 7   suffixed for the period spanning                      7       A Okay.
 8   July 1, 2014 to August 1, 2018 is                     8           Let's subtract 30 from
 9   $2,194,100.                                           9   21,000.
10          That's put forth as a damage                  10       Q Let's subtract 1,975,000 from
11   claim. Are you aware of that?                        11   it.
12       A I'm not familiar with the                      12       A No, because these are
13   term damage claim as litigators use it.              13   completely different. This is a Land
14   So I --                                              14   Rover commercial for example.
15       Q Are you aware that that is                     15       Q Which is also time barred.
16   part of the plaintiffs' claim that they              16   You're aware of that, aren't you?
17   have supposedly been deprived of that                17           MR. MARDEROSIAN: No, it's
18   money?                                               18       not time barred because there's an
19       A Yes.                                           19       e-mail from your client after
20       Q Okay.                                          20       July 1, 2014, offering to pay them
21          And you don't know whether                    21       the money. It's still a claim
22   what they were actually paid is or is                22       that's on the table. I'm sorry.
23   not backed out of that number?                       23       By the admission of your own
24          MR. MARDEROSIAN: It calls                     24       client.
25       for speculation. This is not his                 25           MR. ZAKARIN: The claim is
                                                                                        99 (Pages 390 - 393)
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                                               Page 394                                                  Page 396
 1                 KOHN                                    1                     KOHN
 2    gone, long gone.                                     2   to blanket licenses or fees from
 3        MR. MARDEROSIAN: Don't try                       3   blanket licenses, that it should be
 4    to instruct the client as to what                    4   allocated on a usage basis not across
 5    the damage claim is because this                     5   the libraries licensed?
 6    is not his realm, and it's                           6       A I said that it was the custom
 7    contrary to the evidence. Okay?                      7   and practice to take blanket -- fees
 8        MR. ZAKARIN: No, it's not                        8   that were generated on a blanket basis
 9    contrary to the evidence.                            9   and allocate them based upon usage, not
10        MR. MARDEROSIAN: Yes, it is.                    10   based upon the number of songs.
11        MR. ZAKARIN: It's in his                        11       Q Well, actually the next
12    report.                                             12   statement tells us what you say, which
13        MR. MARDEROSIAN: Whatever,                      13   is -- give me a second.
14    Don. It's argumentative.                            14           It says the determination --
15        MR. ZAKARIN: It's in his                        15       A Would you please tell us the
16    report.                                             16   page --
17        MR. MARDEROSIAN: What's in                      17       Q Page 11. The determination
18    his report?                                         18   of the relevant share based on the
19        MR. ZAKARIN: The damage                         19   number of songs rather than the usage
20    claim.                                              20   of the songs is inconsistent with both
21    Q Let's continue, Mr. Kohn.                         21   the terms of the 2011 composer
22        So you've got here -- you've                    22   agreement and customs and practices in
23 taken from Aron and Robert their                       23   the industry.
24 proposed numbers and you've included                   24           What I want to try to do
25 that here and you totaled them up,                     25   first is deal with -- because you just
                                               Page 395                                                  Page 397
 1                 KOHN                                    1                    KOHN
 2   right?                                                2   said it's inconsistent with customs and
 3       A Yes.                                            3   practices, correct?
 4       Q Okay. I just wanted to know                     4      A Yes.
 5   where it came from.                                   5      Q Okay.
 6           We'll come back to this a                     6      A Not just that but --
 7   little bit later. Page 11 and onto                    7      Q You've said the contract and
 8   Page 12 of your report. Now we get to                 8   customs and practices.
 9   your allocation theories.                             9      A Right.
10           You say towards the bottom,                  10      Q Let's deal with customs and
11   the next to last bullet point on Page                11   practices first.
12   11, when licenses are granted on a                   12          In terms of the customs and
13   blanket basis Aron and Robert are                    13   practices of production music libraries
14   entitled to a pro rata share, their                  14   in determining how they allocate
15   relevant share based upon the usage of               15   blanket licenses, did you contact any
16   their songs and recordings, not based                16   production music libraries to find out
17   upon the number of songs they delivered              17   how they did it?
18   in relation to the total number of                   18      A Excuse me. I was distracted.
19   songs in the catalogs licensed.                      19      Q I'm sorry.
20           So let's parse that a little                 20          MR. ZAKARIN: Why don't we
21   bit and go through it. You propose                   21      reread the question, please.
22   that there should be a usage based                   22          (Whereupon, the record was
23   allocation model, correct?                           23      read.)
24       A Repeat the question.                           24      A Not since I was engaged in
25       Q You propose that with respect                  25   this case.
                                                                                       100 (Pages 394 - 397)
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                                              Page 398                                             Page 400
 1                    KOHN                                1                     KOHN
 2       Q Did you do it before?                          2   is just a summary. Let's go back to
 3       A I learned it through 35 years                  3   the section of my report where I
 4   of discussing it with people, at least               4   discuss this. You will have to help me
 5   the past ten years of discussing it                  5   here.
 6   with people in the industry.                         6           MR. MARDEROSIAN: Take your
 7       Q Who did you discuss it with                    7       time.
 8   over the last ten years, can you                     8       A Okay. I think it's Page 71.
 9   identify anybody?                                    9   Okay?
10       A No, I can't -- no, I can't                    10       Q Yes.
11   identify any specific person.                       11       A All right.
12       Q And since you were retained,                  12           So you're going to ask me a
13   you didn't talk to anybody?                         13   series of questions about who talked I
14       A Well, I'm trying to think --                  14   to and since I didn't talk to -- I
15   no, since I've been retained, I didn't              15   can't remember who I talked to, it's
16   need to.                                            16   not fair to me at all.
17       Q And you can't identify any of                 17           So it really is on Page 76.
18   these people in the production music                18       Q Okay.
19   library --                                          19       A Where I give a number of
20       A Well --                                       20   examples. I start with, I believe --
21       Q Let me finish. It will be                     21   and after I discuss the PROs usage if
22   clear if I finish.                                  22   ASCAP or BMI allocated --
23       A You started a question before                 23       Q Where on 76 is this?
24   I finished the last answer. But answer              24       A I think I'm going back to 74.
25   your -- ask your question.                          25       Q Okay. Now we're on 74.
                                              Page 399                                             Page 401
 1                    KOHN                                1                   KOHN
 2       Q You can't identify anybody                     2      A I'm sorry. I may have
 3   that you've spoken with since you were               3   misspoke.
 4   retained to discuss that issue. And                  4      Q PRO is like ASCAP and BMI?
 5   I'm asking you, you can't identify any               5      A PRO is like ASCAP and BMI.
 6   of the people that you spoke with who                6   What I'm --
 7   were in the production music library                 7      Q I see it.
 8   business in the ten years prior to your              8      A -- I'm saying here is it
 9   retention; is that right?                            9   would be unfair and unreasonable for
10       A Look, where did I say in                      10   ASCAP or BMI to distribute income based
11   these two sentences -- where are the                11   upon the number of songs and their
12   words production music library here?                12   respective repertoire because a vast
13   That the first thing we have to do is               13   number of songs in the catalog, which
14   going from top down not from bottom up.             14   may never be performed, would receive
15       Q You're talking about customs                  15   the same share of income as frequently
16   and practice in the industry, right?                16   performed songs.
17       A Yes.                                          17      Q Now, we're not talking --
18       Q What industry are you talking                 18      A No, no.
19   about?                                              19      Q You're still talking. Go
20       A The entire industry. The                      20   ahead.
21   entire record industry. Let's go back               21      A I'm still talking.
22   to what I --                                        22      Q Please, go ahead.
23       Q We're not in the record                       23      A I'm still talking. Because
24   industry.                                           24   we're talking -- because as I said
25       A This is just a summary. This                  25   customs and practices in the music
                                                                                    101 (Pages 398 - 401)
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                                               Page 402                                                  Page 404
 1                   KOHN                                  1                    KOHN
 2   industry and that applies across the                  2   that have been performed a lot or
 3   board.                                                3   sync'd a lot or used a lot get the same
 4       Q The music industry?                             4   amount of money as songs who don't get
 5       A Yeah. And it includes -- the                    5   used at all. That is unfair and
 6   music industry includes the record                    6   unreasonable. It may be practical
 7   companies, PROs, music publishing                     7   because it makes your job easier, but
 8   companies and music production                        8   it's unfair and it's unreasonable.
 9   libraries or production music                         9   That's the music industry. Everyone
10   libraries.                                           10   does that. And if you don't do it --
11       Q We're talking about sync                       11   if you don't do it, you're being unfair
12   licenses now, aren't we, blanket sync                12   and you're being unreasonable.
13   licenses?                                            13        Q So -- oh, you're still
14       A No, we're looking at -- we're                  14   talking?
15   looking at blanket revenue.                          15        A Yeah.
16       Q No.                                            16          So I have those examples in
17       A Yes, we are. Oh, yes, we                       17   this report on 76. I say it's a common
18   are.                                                 18   practice for record companies to
19       Q Yes, we are?                                   19   allocate blanket income on the basis of
20       A Yes, we are. We're looking                     20   the most practical means available.
21   at blanket -- a blanket license is a                 21   For example, sometimes a record label
22   form of license where you -- one of                  22   must pay royalties on what is called
23   your experts would like to use the word              23   breakage income. That is, they might
24   access. So you have -- we're going to                24   have received an advance from an
25   reduce your transaction costs, you                   25   organization that does streaming from,
                                               Page 403                                                  Page 405
 1                    KOHN                                 1                     KOHN
 2   know, read US versus ASCAP and BMI.                   2   let's say, ten years ago, a company --
 3   You know a 1979 Supreme Court case, the               3   Cue Tracks, it's a company that paid
 4   reason why they don't violate the                     4   millions of dollars to the record
 5   antitrust laws, music publishing                      5   companies, and they may have gone out
 6   companies, is because they're reducing                6   of business before they even went
 7   the transaction cost of their                         7   online. All right? So now a record
 8   customers. That's what a blanket does.                8   company is at advance of let's say 10
 9   A -- it's something that's issued in a                9   or $20 million, and how do they
10   blanket form that you can go ahead and               10   distribute that money to the artist?
11   use what's here. All right? And                      11   They have no reports whatsoever. What
12   whenever money is brought in on a                    12   they do is they look at other streaming
13   blanket basis whether it's from a PRO                13   companies, look at the reports that
14   issuing for performance licenses,                    14   they do have, do an extrapolation and
15   whether it's a blanket for                           15   allocate the money based upon usage.
16   synchronization licenses, whether it's               16   They do not allocate the money counting
17   from a record company who's got                      17   the number of recordings that they have
18   breakage, whether it's from black box                18   in their catalog and giving everyone
19   money that's overseas from music                     19   the same amount. Okay?
20   publishing companies, you always                     20           So that's the record
21   allocate it to the best of your ability              21   industry. And I say here -- and you
22   on a fair and reasonable basis which is              22   were asking who did I talk to. Well,
23   always based upon usage.                             23   in that particular instance when I was
24          If you don't base it upon                     24   in my company at Royalty Share I sat in
25   usage you're going to have some songs                25   policy discussions at Sony Music, which
                                                                                      102 (Pages 402 - 405)
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                                           Page 406                                              Page 408
 1                   KOHN                              1                    KOHN
 2   is a sister company to Sony ATV, and              2   strawman. I said it's based upon
 3   that's how they do it. The Sony                   3   usage. Adam Taylor agrees it's based
 4   corporation does it that way. That's              4   upon usage. I think anyone who would
 5   the way it's supposed to be done.                 5   do it on the basis of the number of
 6           Now, black box monies is                  6   songs -- if ASCAP did it they'd be out
 7   monies overseas that music publishers             7   of business the next day. If record
 8   receive that do not come accompanied by           8   companies did it, they'd be sued by
 9   usage reports because it's money that             9   their recording artists. And if a
10   was unallocated to anyone specifically.          10   production music company did it to
11   The music publisher gets it and an               11   their songwriters, they would be sued
12   honest music publisher will distribute           12   by their -- sued by their songwriters.
13   that monies -- its portions to the               13   And that's what this case is about.
14   other publishers, sub-publisher,                 14       Q Okay. Let me know when
15   original publishers or others,                   15   you're done.
16   copublishers and to songwriters on a             16       A I'm done.
17   fair and reasonable basis. And that's            17       Q Okay.
18   going to be based upon some projected            18          You talked about custom and
19   usage or if they have the report it              19   practice, but the custom and practice
20   will be actual usage. And that's the             20   now you're talking about is the music
21   way it's done.                                   21   industry generally and not related to
22           Nobody that I've ever heard              22   sync licensing by production music
23   of, except in the past day I heard of            23   libraries; is that right?
24   First Com, your last -- Mr. Katz said            24          MR. MARDEROSIAN: I'm going
25   that he acquired a company when he was           25       to object.
                                           Page 407                                              Page 409
 1                    KOHN                             1                    KOHN
 2   at Zamba that did it that way. I was              2            Mischaracterizes the
 3   surprised to hear that. A small                   3        testimony. Argumentative.
 4   production music library did it that              4        A I am using it as sync
 5   way.                                              5   licenses for a production music
 6           And then you have your own                6   library. I mentioned Adam Taylor
 7   witness, Adam Taylor, he runs a                   7   two -- how many times did I mention him
 8   production music library; and he does             8   in the past ten minutes? He runs a
 9   it the right way. He basis it on                  9   production music library, has admitted
10   usage -- usage reports. Now, all of              10   that his blanket sync licenses, when he
11   your experts went to great lengths to            11   gets the income -- when he gets his
12   say that I said in my report that it             12   income he also gets usage reports to
13   has to be done on actual usage. I                13   find out what songs have been sync'd.
14   suspect that that someone may have put           14   And he uses some message -- some
15   in their heads that I said actual                15   methodology based upon his usage. He
16   usage. But I didn't say that it had to           16   wasn't specific in his report, but I
17   be done in actual usage, BMI and ASCAP           17   was very happy to hear that he's doing
18   don't do it on actual usage all the              18   it in some. I don't know for sure. I
19   time. They do get numbers based upon             19   haven't seen his calculations, but if
20   electronic usage reports that reflect            20   it's based upon usage, it's likely to
21   accurate usage pretty well.                      21   be more fair and more reasonable than
22           But when your experts set up             22   basing it upon the number of songs in
23   strawman that says that nobody can do            23   the catalog, which virtually nobody
24   it in actual usage, that's simply not            24   does except your client.
25   what I said in my report. It's a                 25        Q You said virtually nobody
                                                                                 103 (Pages 406 - 409)
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                                               Page 410                                         Page 412
 1                   KOHN                                  1                   KOHN
 2   does. What -- who have you talked to?                 2    Q I don't know what you're
 3      A I don't have to talk to                          3 saying.
 4   everybody in the industry.                            4        MR. MARDEROSIAN: Hold on.
 5      Q You don't have to talk to                        5    Stop.
 6   anybody it appears.                                   6        He's answered the question.
 7      A I --                                             7    You're now arguing with him. Stop
 8          MR. MARDEROSIAN: Folks,                        8    arguing with him, Don.
 9      you're arguing with each other.                    9        Let's go to the next topic.
10      Q You haven't identified a                        10    You've got his testimony on the
11   single --                                            11    subject.
12          COURT REPORTER: Excuse me.                    12        MR. ZAKARIN: He hasn't
13      A I have -- I don't have to --                    13    identified a single production
14      Q You haven't identified a                        14    music --
15   single production music library that                 15        MR. MARDEROSIAN: Incorrect.
16   you've contacted, spoke to, or found                 16        You haven't listened to what
17   out how they do it; is that right?                   17    he said.
18      A I sat in a deposition -- I'm                    18        MR. ZAKARIN: I was --
19   sorry -- in a deposition yesterday. If               19        MR. MARDEROSIAN: You -- save
20   you don't remember, you can get the                  20    it for trial, Don.
21   transcript and read it. Right?                       21        MR. ZAKARIN: No.
22      Q I remember it well.                             22        MR. MARDEROSIAN: Save it for
23      A His report says usage. He                       23    trial and let's see --
24   was asked specifically whether he                    24        MR. ZAKARIN: That's not how
25   thought that was fair. Now, this is a                25    it goes.
                                               Page 411                                         Page 413
 1                    KOHN                                 1                 KOHN
 2   guy who sat on the board of APM, the                  2        MR. MARDEROSIAN: -- if the
 3   production music library that your                    3    jury accepts your argument on
 4   other expert is the CEO of.                           4    this.
 5       Q Um-hum.                                         5        MR. ZAKARIN: That's not how
 6       A He circled the wagon saying                     6    it goes, Mick. My questions get
 7   of course it's okay to do this because                7    answered, or else I don't leave
 8   I had a company like that myself that                 8    them.
 9   that did it.                                          9        MR. MARDEROSIAN: His
10       Q You didn't answer my                           10    question -- he did answer your
11   question.                                            11    question, you're now just arguing
12       A I did answer your question.                    12    it.
13   I just told you -- I just told you a                 13    A You just don't like the
14   production music library out of the                  14 answer to the question.
15   voice of your own experts, two of them,              15    Q Well, you -- if you gave an
16   okay, are saying that they -- that's                 16 answer, I might like it.
17   the way they do it.                                  17        I asked you --
18       Q I just want to make sure. So                   18        COURT REPORTER: Excuse me.
19   your testimony about custom and                      19    Gentlemen, please.
20   practice is now based upon what Paul                 20        MR. MARDEROSIAN: Hold on,
21   Katz testified to yesterday and what                 21    Don. Give her -- give her a
22   Adam Taylor has in his report; is that               22    moment.
23   it?                                                  23        COURT REPORTER: I just need
24       A That's not what I'm                            24    you to speak one at a time,
25   testifying. It's not what I said.                    25    please.
                                                                                  104 (Pages 410 - 413)
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                                           Page 414                                            Page 416
 1                   KOHN                              1                   KOHN
 2          MR. ZAKARIN: We'll try.                    2       about your own experts, Don.
 3       Q You've talked about custom                  3       Q What you haven't talked
 4   and practice and my question was very             4   about -- we have Adam Taylor who says
 5   simple. What production music                     5   that they do it on a -- on a reported
 6   libraries have you ascertained allocate           6   usage basis and that's fine. And Adam
 7   blanket license income on any kind of a           7   Taylor says what he says. And it's in
 8   usage basis? We know APM does it on a             8   his report.
 9   reported usage basis. What else? What             9          I'm asking you what
10   other production music library                   10   production music libraries do you
11   allocates it, however they allocate it?          11   know -- do you know how other
12   Do you have any information? Any                 12   production music libraries allocate
13   information?                                     13   blanket license income?
14       A I suspect that every other                 14       A Yes, they all do it.
15   one does it except your client today             15       Q Who?
16   and maybe First Com if it still exists.          16       A They all do it except
17       Q I didn't ask what you                      17   Extreme. APM is one example of it.
18   suspect. I asked what you know, facts.           18   And over the years --
19       A I know the customs and                     19       Q Give me another examples.
20   practices of the music industry. I               20       A Over the years -- I can't
21   can't tell you over 20 years of being            21   imagine -- my opinion is it's not fair
22   in the industry and discussing with              22   or reasonable.
23   people who know what they're -- I may            23       Q I didn't ask that. You can
24   have discussed it with Adam Taylor, who          24   have that opinion.
25   knows, because we did discuss his                25          MR. MARDEROSIAN: He told you
                                           Page 415                                            Page 417
 1                     KOHN                            1                   KOHN
 2   business when I met with him five, six            2       Sony Music, Don. You're leaving
 3   years ago, whenever it was. But I                 3       that out.
 4   learned this over a period of time.               4          MR. ZAKARIN: Sony Music is
 5   And it is not fair -- my opinion is               5       not a production music library.
 6   that it's not fair or reasonable to               6          MR. MARDEROSIAN: He told you
 7   base it upon the number of songs.                 7       how they handle the publishing in
 8   Nobody apparently but your client does            8       regard to those uses.
 9   it. You have not and your experts have            9          MR. ZAKARIN: Black Box. I
10   not pointed to anyone who does it that           10       understand black box. That's not
11   way.                                             11       the question.
12       Q You're the one who's talking               12       A Yes. The music industry
13   about custom and practice.                       13   allocates money that's presented on a
14       A Yes.                                       14   blanket basis whether it's the leftover
15       Q I'm not. So I want to know                 15   advance, whether it's black box money,
16   what the custom and practice is of               16   whether it's income. There's no one
17   production music libraries allocating            17   who's going to -- there's no one except
18   it. You have a statement --                      18   maybe one of your witnesses yesterday
19       A Production.                                19   who suggested that that might even be
20       Q -- the basis for the                       20   close to being fair. It's not.
21   statement -- you've talked about the             21          I don't have to talk to every
22   ASCAP and BMI. You've talked about               22   production music library in the world.
23   record companies. You've talked about            23       Q Do you have to talk to any?
24   black box.                                       24       A I don't even know all of the
25           MR. MARDEROSIAN: He's talked             25   ones that do it on a blanket basis,
                                                                                 105 (Pages 414 - 417)
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                                               Page 418                                                  Page 420
 1                   KOHN                                  1                    KOHN
 2   okay. Has your expert witnesses                       2       Q Have you done a survey of any
 3   reported back as to who other -- anyone               3   production --
 4   other than First Com that does it? You                4       A Yeah, I did a survey.
 5   have three -- you have an expert                      5       Q Of the production music
 6   witness who is the CEO of one of the                  6   library?
 7   largest production music libraries in                 7          COURT REPORTER: Excuse me.
 8   the world.                                            8       Gentlemen, please.
 9      Q Yes.                                             9          MR. MARDEROSIAN: You're just
10      A Your client is the CEO of a                     10       arguing.
11   production music library, one of the                 11          MR. ZAKARIN: I just want to
12   largest in the world.                                12       know the source.
13      Q Yes.                                            13       A I haven't been -- I haven't
14      A Have either of them suggested                   14   been asked to do a survey and nor have
15   that anyone other than Extreme does it               15   any of your experts come forth with
16   this way? What do they say?                          16   anybody else.
17      Q Are you aware of how many                       17       Q So you haven't done a
18   production music library --                          18   survey --
19      A I didn't see that.                              19       A Nor has your client.
20      Q Are you aware of how many                       20          COURT REPORTER: Excuse me.
21   production music libraries there are in              21       I'm going to need to take a break.
22   the United States?                                   22          MR. ZAKARIN: I know. I'm
23      A How many? The number?                           23       sorry. I'm asking questions, and
24      Q Yeah.                                           24       he's actually answering on top of
25      A No. It must be a large                          25       my questions.
                                               Page 419                                                  Page 421
 1                 KOHN                                    1                    KOHN
 2   number.                                               2       Q You haven't done a survey,
 3       Q And with the exception of                       3   right? I'm not saying you were asked
 4   Adam Taylor's testimony in his report                 4   to --
 5   about on a reported usage basis, do you               5       A I have not done a
 6   know how any of them -- any of these                  6   questionnaires kind of survey.
 7   many numbered production music                        7       Q And you haven't done a census
 8   libraries allocate blanket license                    8   or questioned any executives of any
 9   income? Do you know how any of them do                9   production music library about how do
10   it?                                                  10   they allocate their blanket license
11       A Yes, they do it on a usage                     11   income; is that right? Yes or no?
12   basis.                                               12       A In the -- since the start of
13       Q And what's the basis for your                  13   this case, no, for sure.
14   statement that they do it on a usage                 14       Q And you didn't ask them
15   bassi?                                               15   before the start of this case, did you?
16       A Because everybody does it                      16       A I might have.
17   that way in the business except your                 17       Q But you don't recall whether
18   client.                                              18   you did?
19       Q So this is just a conclusion.                  19       A I don't recall.
20   It's not based upon your knowledge of                20       Q Okay.
21   any facts, right?                                    21       A How did I come to this
22           MR. MARDEROSIAN: You're                      22   knowledge? I can't remember who I
23       arguing with him. You're arguing                 23   may -- might have talked to in the
24       with him. He's answered your                     24   1990s in researching the book.
25       question.                                        25       Q I understand.
                                                                                       106 (Pages 418 - 421)
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                                               Page 422                                                  Page 424
 1                    KOHN                                 1                    KOHN
 2          But it's your opinion,                         2   a fair, reasonable, practical basis.
 3   nonetheless, that it's custom and                     3       Q I know that. And then it
 4   practice to allocate it. So it's now                  4   says there after that, such basis to be
 5   not on an actual usage basis. It's on                 5   determined in company and the HM
 6   some usage basis?                                     6   transferee's sole discretion, right?
 7       A You used the word actual                        7       A Yes.
 8   usage, I didn't. I used the word                      8       Q You understand what sole
 9   usage. And you keep doing that. Your                  9   discretion means?
10   experts keep doing that.                             10           MR. MARDEROSIAN: Objection.
11          It was a strawman. It was                     11           Vague.
12   ridiculous for them to go on pages                   12       A I understand what the word
13   after pages and say that nobody does it              13   fair and reasonable and practical basis
14   on actual usage when they know that                  14   means. I know that when a contract,
15   everybody does it on usage. And that                 15   whether it has sole discretion or not,
16   was ridiculous. They look like fools.                16   it is going to be subject to an implied
17       Q Well, that's your opinion                      17   obligation of good faith and fair
18   which is another good opinion.                       18   dealing.
19          So it's a usage basis now.                    19           Sole discretion doesn't mean
20   It's not actual -- it's some sort of                 20   they can ignore what's in that
21   usage basis. That's your testimony?                  21   paragraph. They wouldn't have been
22       A That's correct.                                22   able to -- why didn't they just simply
23       Q Okay.                                          23   say they can agree to apportion the
24       A Some usage basis or projected                  24   licensing income on their sole
25   usage basis. And those are the words                 25   discretion, period? They didn't do
                                               Page 423                                                  Page 425
 1                     KOHN                                1                 KOHN
 2   that were used in the contract. I                     2   that.
 3   assume that's what you're moving to                   3       Q I agree.
 4   next.                                                 4       A Right? They led the person
 5       Q Yes. Yes, we are.                               5   who was reading this contract, the
 6   Excellent.                                            6   person who didn't draft the contract,
 7           Let's pull out Exhibit 3, I                   7   two young songwriters signed a contract
 8   think it is. I think it's                             8   because they're reading words like
 9   Paragraph 7.3.                                        9   fair, reasonable and practical. Anyone
10       A It is.                                         10   would read it what way. And then it
11       Q Now, what it says, I think --                  11   says without prejudice to the
12   let's see if I can recall your quote                 12   generality of the foregoing company and
13   from the contract. Top of Page 12,                   13   HM transferees reserves the right to
14   your quote from the contract says the                14   apportion the licensing income, the
15   2011 composer agreement states that the              15   blanket licensing income on the ways
16   determination or apportion of the                    16   that are standard with the customs and
17   relevant share is to be made on a fair,              17   practices of the music industry.
18   reasonable and practical basis, right?               18   Any -- on any actual usage basis
19       A Right.                                         19   determined by company. On any
20       Q And actually that's not the                    20   projected usage basis determined by
21   complete quote, is it?                               21   company or on a basis which is a
22       A This is a summary of the                       22   composite of the methods described
23   quote.                                               23   above. It doesn't have a D that says
24       Q The real quote says --                         24   or none of the above. All right?
25       A The only part I quoted was on                  25       Q Reserves the right --
                                                                                      107 (Pages 422 - 425)
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                                          Page 450                                                  Page 452
 1                   KOHN                             1                KOHN
 2   BMI and ASCAP to make it a more rapid            2      A   He wasn't terribly specific,
 3   process, I suppose.                              3   no.
 4       Q Do you have any familiarity                4       Q Okay. You understand, don't
 5   with the finances of production music            5   you, that if usage is not reported to
 6   libraries?                                       6   them, then they don't pay anybody
 7          MR. MARDEROSIAN: Objection.               7   who's -- for which they don't get
 8          Vague. Overbroad.                         8   reports?
 9       Q You can answer the question.               9       A Well, maybe they'll get sued
10       A No, I don't have any -- other             10   too. Because most production music
11   than the testimony that I've been able          11   libraries, my understanding of the
12   to provide and the expertise that I             12   customs and practices in the business
13   have about customs and practices. No,           13   and from agreements that I've seen in
14   I don't have -- when you say finances           14   the past is that when you don't get a
15   I'm thinking of balance sheet income            15   usage report you do allocate the money
16   statement --                                    16   on some projected basis based upon the
17       Q Yeah.                                     17   usage reports that you do get.
18       A -- cash flow, things like                 18       Q When you say from your
19   that.                                           19   understanding, you're talking -- we've
20       Q Yes.                                      20   already covered that. So I'll skip
21       A No.                                       21   that. We covered that pretty well.
22       Q We're talking the same                    22       A Thank you.
23   language.                                       23          (Whereupon, a brief recess
24       A Right. No. Nor have I been                24       was taken.)
25   asked to opine on any of that.                  25       Q On Page 14 of your report,
                                          Page 451                                                  Page 453
 1                   KOHN                             1                    KOHN
 2       Q I understand.                              2   I'll ask you to turn there, you say
 3          Do you have any understanding             3   Viacom Extreme's issuance of direct
 4   how much a usage apportionment approach          4   reproduction of public performance
 5   might cost a production music library            5   licenses to Viacom for just one dollar
 6   to implement?                                    6   was a violation of the composer -- Aron
 7       A Depends upon the                           7   and Robert's composer agreements. And
 8   circumstances. Apparently APM uses               8   on Page 83 of your report you address
 9   usage reports; and they seem to find it          9   that again. On Page 83 you say, and
10   not burdensome, otherwise why would             10   there's even a caption on it, Viacom
11   they do that.                                   11   Extreme's secret issuance of direct
12       Q You're aware --                           12   reproduction and public performance
13       A Well, they would do it for                13   licenses to Viacom for just one dollar
14   obligations for -- contractural                 14   was a violation of Aron and Robert's
15   obligations perhaps.                            15   composer agreements.
16       Q You're aware from having read             16           Then you say that it appears
17   Adam Taylor's report that his view of           17   that Viacom Extreme joint venture
18   the reported usage method is that a lot         18   actually granted back to Viacom not
19   of people whose works are used actually         19   only a blanket reproduction license but
20   don't get paid?                                 20   a blanket direct public performance
21       A I don't recall reading that               21   license to all of Viacom's broadcasters
22   in the report.                                  22   and producers. And then it continues
23       Q Well, on the reported usage               23   on and names a number of them.
24   basis -- do you understand what APM's           24           And on Page 84 you say
25   reported usage basis is?                        25   that -- you say it again, thus it
                                                                                  114 (Pages 450 - 453)
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                                               Page 482                                                  Page 484
 1                    KOHN                                 1                     KOHN
 2       Q There's a number of things.                     2       A I do remember that.
 3   And I think you've already testified                  3       Q Okay.
 4   that essentially the values were                      4           So other than looking at
 5   provided to you by Aron and Robert and                5   these 10 or 15 licenses, did you do any
 6   you assessed them?                                    6   other kind of a survey in order to come
 7       A Correct. The copyright owner                    7   up with the values that you thought
 8   or any property owners are aloud to                   8   were fair and reasonable?
 9   make their own assessment as to the                   9       A I have done surveys. Not
10   value of their own property.                         10   written surveys, but surveys over the
11       Q Right. Subject to the                          11   past 20 years which I've kept up to
12   contract, but --                                     12   date in terms of what are reasonable
13       A Right.                                         13   license fees for the use of music in
14       Q Let's talk about this for a                    14   commercials and theatricals and
15   little bit.                                          15   television programming. I summarize
16           They provided you with some                  16   that or I try to keep it up to date in
17   licenses that they had entered into,                 17   the 26 chapter of Kohn Music Licensing.
18   correct?                                             18           And so -- yeah, so I didn't
19       A Yes.                                           19   do anything beyond all the accumulated
20       Q Did they provide you any of                    20   knowledge that I've had over the years
21   their gratis licenses to look at?                    21   in talking to people and talking to as
22       A No.                                            22   a -- I feel like in a way I'm like a
23       Q So they selected the licenses                  23   reporter talking to various people in
24   that they wanted to show you?                        24   the industry. I might know more than
25           MR. MARDEROSIAN: Only if you                 25   any individual at any particular music
                                               Page 483                                                  Page 485
 1                   KOHN                                  1                   KOHN
 2       know that that's the case.                        2   publishing company because they only
 3       A I don't -- yeah, that's true.                   3   know what they do. And they tell me,
 4   All I know is I got a set of licenses                 4   and then I verify it with somebody
 5   that were like, I don't know whether it               5   else. And somebody will say, that's
 6   was 10 or 15 are 20. Something like                   6   sounds too high to me or sounds too
 7   that.                                                 7   low. They would have antitrust
 8       Q They provided you with 10 or                    8   problems in talking to each other about
 9   15 licenses.                                          9   what they charge for license fees, but
10       A That's true.                                   10   they have no problem talking to me.
11       Q Do you know how many licenses                  11       Q You've done your -- you've
12   of their works they've entered into?                 12   done a lot of work in terms of your
13       A No.                                            13   book. Did you do a study of the
14       Q And do you know the range of                   14   license fees being paid for production
15   values of the licenses for their works               15   music outside of looking at the 10 to
16   they've entered into?                                16   15 licenses given to you by Aron and
17       A Not entirely.                                  17   Robert?
18       Q Okay. And have you seen                        18       A Yeah. There's a -- well,
19   their answers to interrogatories where               19   when you say study, I would say that my
20   they identify all of the licenses --                 20   Chapter 26 does talk about licenses for
21   not they'll produce them, but they                   21   production music libraries -- licenses
22   identify the license amounts --                      22   of music from production music
23       A Yes.                                           23   libraries. I don't recall actually the
24       Q -- and include about                           24   depth to which I was doing that
25   15 percent of them being gratis?                     25   because, remember, production music
                                                                                      122 (Pages 482 - 485)
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                                               Page 486                                                  Page 488
 1                   KOHN                                  1                    KOHN
 2   libraries license both the sound                      2          I actually sorted them by
 3   recording and the musical work. And                   3   dates. I went from 2010 to 2017 to
 4   they're providing some real value there               4   make sure that I'm kind of matching
 5   in reducing the transaction cost of the               5   their growth and their popularity of
 6   licensees. So it's a level of                         6   their songs. I actually listened to
 7   refinement that I might consider                      7   the songs to make sure that what I was
 8   putting in the next edition of my book.               8   hearing from Mulholland Drive, which I
 9       Q Did you go to and examine the                   9   was able to do by going to the Extreme
10   backup for your book in assessing the                10   website and just click on it and use my
11   reasonableness of these values given to              11   TuneSat account or access. And
12   you by Aron and Robert?                              12   listened to the songs to say, okay,
13       A I don't have any backup in                     13   what was in Lonely Orchard sounds
14   any written form for any of the license              14   production values that are just as
15   fees that I have in my book.                         15   good, equivalent to the ones that they
16       Q Did you -- given that, did                     16   have given on a work-for-hire basis to
17   you consult with any source to try to                17   Viacom.
18   determine the reasonableness of the                  18          So I felt that they were
19   fees that they propose to you, you                   19   comparable and they -- I'm watching
20   know, in assessing? Did you do any                   20   them get 60,000, 55,000 option 85,000,
21   source at all?                                       21   you know, 30,000, 40,000. I see all of
22       A I wouldn't have to do that                     22   that.
23   because whatever sources I had over the              23       Q But you didn't see any of the
24   past ten years or so to update the                   24   gratis licenses?
25   figures that I had in my book were my                25       A I didn't see any of the
                                               Page 487                                                  Page 489
 1                   KOHN                                  1                 KOHN
 2   sources for determining these license                 2   gratis licenses.
 3   fees.                                                 3      Q You didn't see any of the
 4       Q And did you compare what you                    4   lower value licenses. They selected
 5   have in your book for production music                5   what they wanted you to see?
 6   license fees ranges to the numbers that               6          MR. MARDEROSIAN: Well, no,
 7   Rob and Aron gave you? Did you consult                7      you're arguing with him.
 8   your book at all in doing it?                         8          And you asked that question
 9       A I did consult my book, but I                    9      before, Don; and he's already told
10   also took a look at my license fees                  10      you he doesn't know if that's the
11   that are in my book for production                   11      case.
12   music. And I took a look at the                      12          You've had your opportunity
13   license fees that they were issuing for              13      to depose Aron and Robert, and
14   production music. Or I would say if                  14      you'll hear them again at trial
15   you want to call it production music,                15      explain all of this.
16   that's what they do in Lonely Orchard                16          So I'm going to object. It's
17   Music Publishing. They're producing                  17      argumentative and you're just
18   production music with their sound                    18      asking this witness to speculate.
19   recordings. And I found -- they gave                 19      A There are a variety of
20   me a license that said they got $75,000              20   reasons why a gratis license might be
21   sync fee for one. They got a 50,000                  21   given. I felt I was getting a good
22   sync fee for another one. They got                   22   overview. It covered the entire
23   20,000 -- 10,000, I think, was the                   23   time frame. It covered things that
24   lowest which is the one they -- they                 24   were very similar to the licenses that
25   got from -- in 2010.                                 25   were listed in the exhibits in my
                                                                                      123 (Pages 486 - 489)
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                                           Page 490                                                  Page 492
 1                     KOHN                            1                     KOHN
 2   report. And what the fees that we came            2   legal conclusion and I apologize for
 3   up with was reasonable -- were                    3   that but that's a summary -- where I
 4   reasonable.                                       4   felt this -- I see a $14,000 license
 5       Q By the way under the                        5   fee for the use of music in Land Rover.
 6   agreement, the 2011 agreement, is there           6   I see small license fees, Starbucks.
 7   any provision that gives Robert and               7   They were way, way under.
 8   Aron the right to second guess the                8       Q Way, way under what?
 9   license fees that Extreme was able to             9       A Way, way under what I thought
10   obtain?                                          10   was going to be -- based upon what they
11           MR. MARDEROSIAN: I'm just                11   were getting for their quality of
12       going to object. It calls for a              12   music. You can't just say this is
13       legal opinion and conclusion.                13   just -- oh, just a piece of production
14           It's called good faith and               14   music. Just some genre thing. These
15       fair dealing as we all know which            15   were some of the best songs that you
16       is a legal opinion and conclusion.           16   guys had.
17           MR. ZAKARIN: Could you swear             17       Q You listened to the entire
18       in Mr. Marderosian? He wants to              18   library? Did you listen to Hans Zimmer
19       testify.                                     19   stuff?
20           MR. MARDEROSIAN: You're                  20       A No, I wasn't giving it a
21       asking for a legal opinion, Don.             21   qualitative judgment. I did a
22           MR. ZAKARIN: No, I asked him             22   quantitative judgment based upon
23       whether there's a provision in the           23   reports that you provided during this
24       agreement that gives him the right           24   litigation.
25       to second guess.                             25       Q Two libraries, not all the
                                           Page 491                                                  Page 493
 1                    KOHN                             1                 KOHN
 2           That wasn't a legal opinion.              2   libraries.
 3           MR. MARDEROSIAN: You both                 3       A They're the two libraries
 4       scraped at the agreement and                  4   that one says Mix Tape and one says
 5       there's an implied covenant of                5   Hype and they seems to be the two --
 6       good faith and --                             6   where are the rest? Show us the rest,
 7           MR. ZAKARIN: You're                       7   and we'll see.
 8       testifying again, Mr. Marderosian.            8          (Excerpt from the book
 9           MR. MARDEROSIAN: Well,                    9       entitled, Kohn On Music Licensing,
10       you're asking me --                          10       was marked K Exhibit 6, for
11       A No, he's just repeating what               11       identification, as of this date.)
12   I said earlier.                                  12       Q I don't have to.
13       Q I understand.                              13          I'm going to give you what
14           I asked you whether there was            14   we'll mark as Exhibit 6, another page
15   a provision, not whether there's an              15   from your book and your father's book.
16   implied covenant.                                16          And this relates to value.
17       A I would consider an implied                17   I'm going to read under quantitative
18   covenant a provision of the agreement.           18   factors effecting value.
19   I would consider -- I would consider             19          Do you see that?
20   given other things that I found in the           20       A Yes.
21   evidence as to how these two                     21       Q And it says, about halfway
22   songwriters were treated by their music          22   in, a music publisher with thousands of
23   publishing company. And I went through           23   songs in its catalog and with years of
24   a long list of things that I felt were           24   experience in licensing music is likely
25   breaches of contract -- and that is a            25   to have access to much of the
                                                                                   124 (Pages 490 - 493)
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                                              Page 750                                                          Page 752
 1                                                        1
 2      A    I answered your question.                    2             CERTIFICATION
 3      Q    Okay.                                        3
                                                                 STATE OF NEW YORK )
 4          (Time noted: 1:47 a.m.)
                                                          4              ) ss.:
 5                                                               COUNTY OF NEW YORK )
 6                                                        5
 7                                                        6              I, JUDITH CASTORE, Shorthand Reporter
 8                                                        7          and Notary Public within and for the State
 9                                                        8          of New York, do hereby certify:
10                                                        9              That ROBERT H. KOHN, the witness
11                                                       10          whose deposition is hereinbefore set
12                                                       11          forth, was duly sworn by me and that this
                                                         12          transcript of such examination is a true
13                                                       13          record of the testimony given by such
14                                                       14          witness.
15                                                       15              I further certify that I am not
16                                                       16          related to any of the parties to this
17                                                       17          action by blood or marriage and that I am
18                                                       18          in no way interested in the outcome of
19                                                       19          this matter.
20                                                       20              IN WITNESS WHEREOF, I have hereunto
                                                         21          set my hand this 8th day of November,
21
                                                         22          2018.
22                                                       23
23                                                                              <%17436,Signature%>
24                                                       24                     JUDITH CASTORE
25                                                       25
                                              Page 751                                                          Page 753
 1                                                        1
                                                          2              INDEX
 2   STATE OF ______________ )                            3 WITNESS                            PAGE
                                                          4 ROBERT H. KOHN
 3              ) :ss                                     5   Examination by:
 4   COUNTY OF ______________)                            6       MR. ZAKARIN                       4
                                                                  MR. HWANG                       547
 5                                                        7
 6                                                        8            EXHIBITS
                                                          9
 7         I, ROBERT H. KOHN, the witness                10 K                             PAGE
 8   herein, having read the foregoing                   11 Exhibit 1 Expert Report of Bob Kohn, August 15
                                                                   17, 2018
 9   testimony of the pages of this deposition,          12 Exhibit 2 Blanket Composer Agreement          65
10   do hereby certify it to be a true and                         (Direct) dated as of May 19, 2010
                                                         13 Exhibit 3 March 7, 2011 Agreement          147
11   correct transcript, subject to the                     Exhibit 4 Excerpt from the book entitled, 201
12   corrections, if any, shown on the attached          14        Kohn On Music Licensing
                                                            Exhibit 5 Document entitled, Turner - BMI 339
13   page.                                               15        Music Performance License
14                                                                 Agreement
                                                         16 Exhibit 6 Excerpt from the book entitled, 493
15                ______________________                           Kohn On Music Licensing
16                  ROBERT H. KOHN                       17 Exhibit 7 Excerpts from the book entitled, 613
                                                                   Kohn On Music Licensing
17                                                       18 Exhibit 8 Form 8.2, Multi-Purpose Work For 631
18                                                                 Hire Agreement
                                                         19 Exhibit 9 Multi-page document containing     695
19                                                                 cue sheets
20   Sworn and subscribed to before me,                  20 Exhibit 10 Printout from IMDB.com of all 20 699
                                                                   episodes from the two seasons of
21   this ________ day of __________, 2018.              21        the show Ain't That America
22                                                          Exhibit 11 Cue sheets corresponding to K    699
                                                         22        Exhibit 10
23   _______________________________                        Exhibit 12 Document, Bates-stamped          730
24        Notary Public                                  23
                                                         24
                                                                   VIACOM_0000568 through 667

25                                                       25

                                                                                                 189 (Pages 750 - 753)
                                         David Feldman Worldwide
800-642-1099                               A Veritext Company                                         www.veritext.com
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                                                     Page 754
 1           INSTRUCTIONS TO WITNESS
 2
 3       Please read your deposition over carefully
 4   and make any necessary corrections. You should state
 5   the reason in the appropriate space on the errata
 6   sheet for any corrections that are made.
 7       After doing so, please sign the errata sheet
 8   and date it.
 9       You are signing same subject to the changes
10   you have noted on the errata sheet, which will be
11   attached to your deposition.
12       It is imperative that you return the original
13   errata sheet to the deposing attorney within thirty
14   (30) days of receipt of the deposition transcript by
15   you. If you fail to do so, the deposition transcript
16   may be deemed to be accurate and may be used in court.
17
18
19
20
21
22
23
24
25
                                                     Page 755
 1               ERRATA
 2
 3
 4
 5        I wish to make the following changes,
 6     for the following reasons:
 7
 8     PAGE LINE
 9     ___ ___ CHANGE:__________________________
10     REASON:___________________________________
11     ___ ___ CHANGE:__________________________
12     REASON:___________________________________
13     ___ ___ CHANGE:___________________________
14     REASON:___________________________________
15     ___ ___ CHANGE: __________________________
16     REASON:___________________________________
17     ___ ___ CHANGE: __________________________
18     REASON:___________________________________
19
20     _________________________ _____________
          ROBERT H. KOHN         DATE
21
22    SUBSCRIBED AND SWORN TO BEFORE
23    ME THIS ___DAY OF_______, 201 .
24
      __________________        __________________
25    NOTARY PUBLIC             COMMISSION EXPIRES

                                                                       190 (Pages 754 - 755)
                                             David Feldman Worldwide
800-642-1099                                   A Veritext Company         www.veritext.com
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                 Federal Rules of Civil Procedure

                                 Rule 30



    (e) Review By the Witness; Changes.

    (1) Review; Statement of Changes. On request by the

    deponent or a party before the deposition is

    completed, the deponent must be allowed 30 days

    after being notified by the officer that the

    transcript or recording is available in which:

    (A) to review the transcript or recording; and

    (B) if there are changes in form or substance, to

    sign a statement listing the changes and the

    reasons for making them.

    (2) Changes Indicated in the Officer's Certificate.

    The officer must note in the certificate prescribed

    by Rule 30(f)(1) whether a review was requested

    and, if so, must attach any changes the deponent

    makes during the 30-day period.




    DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

    2016.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

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amended, with respect to Personally Identifiable
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    Robert Kohn Deposition
           Volume 2
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                                                       Page 1                                                  Page 3
·1                                                              ·1
·2·   ·UNITED STATES DISTRICT COURT                             ·2· ·A P P E A R A N C E S:
· ·   ·FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                ·3
·3·   ·--------------------------------------X
·4·   ·TWELVE SIXTY LLC, ARON MARDEROSIAN,                      ·4· · · ·MARDEROSIAN & COHEN,
· ·   ·and ROBERT MARDEROSIAN,                                  ·5· · · ·A Professional Corporation
·5
                                                                ·6· · · ·Attorneys for Plaintiffs
· ·   · · · · · · · Plaintiffs,
·6                                                              ·7· · · · · · ·1260 Fulton Street
· ·   · · · · · ·vs.· · · · · · · Civil Action No.              ·8· · · · · · ·Fresno, California· 93721
·7·   · · · · · · · · · · · · · · 1:17-CV-01479-PAC             ·9· · · ·BY:· ·MICHAEL G. MARDEROSIAN, ESQ.
·8·   ·EXTREME MUSIC LIBRARY LIMITED, a
                                                                10· · · · · · ·HEATHER S. COHEN, ESQ.
· ·   ·division of Sony/ATV Music Publishing;
·9·   ·EXTREME MUSIC LIMITED; VIACOM                            11
· ·   ·INTERNATIONAL INC., NEW CREATIVE                         12· · · ·PRYOR CASHMAN LLP
10·   ·MIX INC., HYPE PRODUCTION MUSIC,                         13· · · ·Attorneys for Defendants Extreme Music
11·   · · · · · · · Defendants.
                                                                14· · · ·Library Limited and Extreme Music Limited
12·   ·--------------------------------------X
13                                                              15· · · · · · ·7 Times Square
14                                                              16· · · · · · ·New York, New York· 10036
15·   ·   ·   ·   ·   ·   · · · · ·VOLUME II
                                                                17· · · ·BY:· ·DONALD S. ZAKARIN, ESQ.
16·   ·   ·   ·   ·   ·   ·CONTINUED DEPOSITION OF
17·   ·   ·   ·   ·   ·   · · · ·ROBERT H. KOHN                 18· · · · · · ·ROSS M. BAGLEY, ESQ.
18·   ·   ·   ·   ·   ·   · · ·New York, New York               19· · · · · · ·YEVGENIA S. KLEINER, ESQ.
19·   ·   ·   ·   ·   ·   · Friday, November 2, 2018            20
20
                                                                21
21
22                                                              22
23                                                              23
24·   ·Reported by:                                             24
· ·   ·JOAN WARNOCK
                                                                25
25·   ·JOB NO. J3015335A

                                                       Page 2                                                  Page 4
·1                                                              ·1
·2                                                              ·2· ·A P P E A R A N C E S:· (Cont'd.)
·3· · · · · · · · · November 2, 2018                            ·3
·4· · · · · · · · · 9:10 a.m.                                   ·4· · · ·LOEB & LOEB LLP
·5                                                              ·5· · · ·Attorneys for Defendants Viacom
·6· · · · VOLUME II - Continued deposition of                   ·6· · · ·International Inc., New Creative
·7· ·ROBERT H. KOHN, held at the offices of                     ·7· · · ·Mix Inc., and Hype Production Music
·8· ·Pryor Cashman LLP, 7 Times Square,                         ·8· · · · · · ·345 Park Avenue
·9· ·New York, New York, pursuant to Notice,                    ·9· · · · · · ·New York, New York· 10154
10· ·before Joan Warnock, a Notary Public of                    10· · · ·BY:· ·WOOK J. HWANG, ESQ.
11· ·the State of New York.                                     11· · · · · · ·ERIN SMITH DENNIS, ESQ.
12                                                              12
13                                                              13
14                                                              14· ·ALSO PRESENT:
15                                                              15· · · ·DAVID J. PRZYGODA, SONY CORPORATION OF
16                                                              16· ·AMERICA
17                                                              17· · · ·BARRY MASSARSKY
18                                                              18
19                                                              19
20                                                              20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25
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                                           Page 5                                              Page 7
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·R O B E R T· ·H.· ·K O H N, called as a         ·2· · · · Q.· ·So other than in the case of direct
·3· · · ·witness, having been duly sworn by          ·3· ·public performance licenses, there's no
·4· · · ·a Notary Public, was examined and           ·4· ·obligation from Viacom, New Creative, or
·5· · · ·testified further as follows:               ·5· ·Extreme to pay any public performance
·6· · · · · · ·COURT REPORTER:· Please state your    ·6· ·royalties to the Marderosians; correct?
·7· · · · name for the record.                       ·7· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls
·8· · · · · · ·THE WITNESS:· Robert H. Kohn.         ·8· · · · for a legal conclusion.
·9· ·EXAMINATION (Cont'd.)                           ·9· · · · A.· ·They have an obligation to pay BMI.
10· ·BY MR. HWANG:                                   10· ·BMI pays the Marderosians.
11· · · · Q.· ·Good morning, Mr. Kohn.               11· · · · Q.· ·Okay.· And that payment to BMI from
12· · · · A.· ·Good morning.                         12· ·Viacom would be in the form of a blanket
13· · · · Q.· ·You recall the instructions from      13· ·license fee?
14· ·yesterday?                                      14· · · · A.· ·Yes.
15· · · · A.· ·The instructions?                     15· · · · Q.· ·Pursuant to the separate agreement
16· · · · Q.· ·Yes.· The instructions, namely,       16· ·between BMI and Viacom --
17· ·that we shouldn't speak over each other?        17· · · · A.· ·That's correct.
18· · · · A.· ·Oh, the admonitions.                  18· · · · Q.· ·-- correct?
19· · · · Q.· ·Right.                                19· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls
20· · · · A.· ·Yes.                                  20· · · · for a legal opinion.
21· · · · Q.· ·Let's try not to do that for the      21· · · · Q.· ·Have you undertaken any analysis to
22· ·sake of the reporter.· So, Mr. Kohn,            22· ·determine how much the Marderosians were
23· ·throughout your report you raised several       23· ·purportedly underpaid in the writer's share
24· ·instances in which -- several bases for         24· ·of public performance income?
25· ·contending that the Marderosians may not have   25· · · · A.· ·No.· I was not asked to opine on
                                           Page 6                                              Page 8
·1· · · · · · · · · R. Kohn                        ·1· · · · · · · · · R. Kohn
·2· ·received their full entitlement to public     ·2· ·that.
·3· ·performance royalties.· Is that an accurate   ·3· · · · Q.· ·So you don't actually know if they
·4· ·characterization?                             ·4· ·were underpaid?
·5· · · · A.· ·May not have received their --      ·5· · · · A.· ·There's enough evidence that I've
·6· ·okay.· Yes.                                   ·6· ·seen in this case that suggest they were
·7· · · · Q.· ·From BMI; right?                    ·7· ·underpaid.
·8· · · · A.· ·Yeah.· Well, may not have received  ·8· · · · Q.· ·But you don't know how much?
·9· ·their public performance royalties.           ·9· · · · A.· ·I don't know how much.
10· · · · Q.· ·There's no obligation from Viacom,  10· · · · Q.· ·And you're not opining on how much?
11· ·New Creative, or Extreme to pay the public    11· · · · A.· ·No.· That's correct.· I mean yes, I
12· ·performance royalties; right?                 12· ·am not opining on how much.
13· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls 13· · · · Q.· ·If the Marderosians weren't paid
14· · · · for a legal conclusion.                  14· ·public performance income for a particular
15· · · · A.· ·Well, to the extent they issued     15· ·use, does that necessarily mean that a cue
16· ·direct performance licenses, they need to do 16· ·sheet wasn't submitted to BMI?
17· ·that.                                         17· · · · · · ·MR. MARDEROSIAN:· Objection.
18· · · · Q.· ·As a share of the gross receipts,   18· · · · Incomplete hypothetical.
19· ·as that term is defined --                    19· · · · A.· ·I agree with that.· I agree that
20· · · · A.· ·As gross receipts, right.           20· ·it's an incomplete hypothetical.· Does it
21· · · · Q.· ·As that term is defined in the 2011 21· ·necessarily mean?
22· ·--                                            22· · · · Q.· ·Someone's going to have to explain
23· · · · A.· ·Yes.                                23· ·to me what that is at some point.· But go
24· · · · Q.· ·-- Composer Agreement?              24· ·ahead.
25· · · · A.· ·Yes.                                25· · · · A.· ·There was a song -- well, you'll
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                                          Page 49                                              Page 51
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·in the exhibit to the co-publishing             ·2· · · · A.· ·By basically granting itself a
·3· ·agreement, joint venture agreement.             ·3· ·direct public performance license.
·4· · · · Q.· ·Is it direct --                       ·4· · · · Q.· ·And thereby not feeling obligated
·5· · · · A.· ·And then --                           ·5· ·or not submitting cue sheets to BMI?
·6· · · · Q.· ·Wait a second.· Let me --             ·6· · · · A.· ·It doesn't matter.· We don't even
·7· · · · A.· ·Let me answer your question.          ·7· ·have to get to cue sheets.· If Viacom thinks
·8· · · · Q.· ·Wait a second.                        ·8· ·it's granted itself a direct public
·9· · · · A.· ·No, no, no, no.· I get to answer      ·9· ·performance license, then it has no
10· ·the question first.· I get to answer the        10· ·obligation to BMI to submit cue sheets on any
11· ·question.                                       11· ·of that.
12· · · · Q.· ·Go ahead.                             12· · · · Q.· ·And yesterday we established that
13· · · · A.· ·On the direct performance side, I     13· ·you can't identify a single example in which
14· ·extrapolated that that license would include    14· ·Viacom didn't submit a cue sheet for a
15· ·a direct performance license from the           15· ·program that aired on a Viacom network;
16· ·statements that were made and the evidence      16· ·correct?
17· ·that I saw here in Dan Pounder's declaration    17· · · · · · ·MR. MARDEROSIAN:· I'm going to
18· ·and some of the other declarations or           18· · · · object.· It calls for speculation and
19· ·depositions or whatever that -- and the         19· · · · incomplete hypothetical.
20· ·statements that are even made in this           20· · · · A.· ·As I just said, Viacom has an
21· ·litigation that Viacom, because it's a work     21· ·obligation to submit cue sheets to BMI for
22· ·for hire, has no obligation to pay for the      22· ·programs.· We just read it in the contract.
23· ·use of any -- no obligation to pay monies       23· ·We just read it, right, in the A&E contract.
24· ·that would generate gross receipts, that        24· ·We haven't seen the Viacom agreement with
25· ·50 percent of which the plaintiffs would be     25· ·BMI.· We can read it in that to actually see
                                          Page 50                                              Page 52
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·entitled to.· So the statement that you're      ·2· ·what the obligation that Viacom had.· But as
·3· ·making that Viacom doesn't owe any money,       ·3· ·a practical matter, I haven't seen any of
·4· ·doesn't owe anything that would generate        ·4· ·these -- just because it's in a cue sheet
·5· ·gross receipts under the 2011 agreement,        ·5· ·doesn't mean you didn't have a direct
·6· ·suggests to me that you think you have a        ·6· ·performance license, because as a practical
·7· ·direct performance license.                     ·7· ·matter, you generate a cue sheet of all of
·8· · · · Q.· ·Let me turn your attention to         ·8· ·the musical works that are in an episode in a
·9· ·Page 84 of the report.· Page 84 of the          ·9· ·program, as I explained.
10· ·report.                                         10· · · · Q.· ·So if a cue sheet is submitted, and
11· · · · A.· ·Go ahead.                             11· ·there's a direct public performance license,
12· · · · Q.· ·You state that Viacom received,       12· ·and BMI royalties are paid out to the
13· ·quote, a direct public performance license      13· ·writers, what is the harm in having a direct
14· ·for that music in circumvention of BMI's        14· ·public performance license, if any?
15· ·collection and distribution of writer's share   15· · · · A.· ·Well, think of all the -- well,
16· ·performance fees to Aron and Robert's music,    16· ·there are lots of -- direct public
17· ·a clear violation of the benefit of their       17· ·performance licenses were not only issued to
18· ·bargain with Viacom.· Do you see that?          18· ·Viacom.· They were issued to all of the major
19· · · · A.· ·That was my conclusion.· That is my   19· ·networks.
20· ·opinion based upon what I said earlier just a   20· · · · Q.· ·Let's stick to Viacom.
21· ·few moments ago, and that is reflected in       21· · · · A.· ·No.
22· ·this report.                                    22· · · · Q.· ·Because that's what I'm asking you
23· · · · Q.· ·How did Viacom circumvent BMI's       23· ·about.
24· ·collection and distribution of writer's share   24· · · · A.· ·No.· No.· You asked me a broader
25· ·performance fees to Robert and Aron?            25· ·question.
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                                          Page 53                                              Page 55
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· · · · Q.· ·No, that's not what I asked you. I    ·2· · · · Q.· ·I'm just asking you to identify a
·3· ·referred you to 84 of your report in which      ·3· ·single instance, if you can.
·4· ·you say Viacom improperly received a direct     ·4· · · · A.· ·It was a breach of contract to give
·5· ·public performance license, quote, in           ·5· ·yourself a direct public performance license,
·6· ·circumvention of BMI's collection and           ·6· ·which is what you've been saying during this
·7· ·distribution of writer's share performance      ·7· ·litigation.
·8· ·fees to Aron and Robert's music.· Do you see    ·8· · · · Q.· ·Thank you, Judge Kohn.
·9· ·that?                                           ·9· · · · A.· ·That you have --
10· · · · · · ·MR. MARDEROSIAN:· Mr. Hwang, you're   10· · · · Q.· ·Thank you, Judge Kohn.
11· · · · arguing with the witness.                  11· · · · A.· ·I'm not --
12· · · · · · ·MR. HWANG:· I'm trying to speed       12· · · · Q.· ·I'm asking you a factual question.
13· · · · this up for your sake.                     13· ·Are you aware of a single instance in which
14· · · · · · ·MR. MARDEROSIAN:· Well, I             14· ·this purported direct public performance
15· · · · appreciate it, but you have to ask         15· ·license to Viacom resulted in a nonpayment of
16· · · · better questions so that we can move       16· ·public performance royalties to Aron and
17· · · · this along.· He's trying to answer your    17· ·Robert?
18· · · · questions.                                 18· · · · · · ·MR. MARDEROSIAN:· Objection.· It
19· · · · A.· ·It could explain -- just because      19· · · · calls for speculation.· Incomplete
20· ·BMI received a cue sheet with information on    20· · · · hypothetical.
21· ·it regarding one of the plaintiff's songs       21· · · · A.· ·How can I trace something that's
22· ·doesn't mean they actually paid the public      22· ·not in a BMI statement, okay.· It won't be in
23· ·performance royalty.· If they have              23· ·a -- nonpayment means not in BMI's statement.
24· ·information from some source, whether it's      24· ·How can I look at a BMI statement to the
25· ·Extreme or Viacom, right, that there was a      25· ·plaintiffs and determine how a payment wasn't
                                          Page 54                                              Page 56
·1· · · · · · · · · R. Kohn                        ·1· · · · · · · · · R. Kohn
·2· ·direct public performance license, BMI would ·2· ·made?· What I need to do is go back and look
·3· ·not pay.· And that might explain why they're  ·3· ·at the TuneSat data which will show me all of
·4· ·not getting paid from BMI what they think     ·4· ·the broadcasts for public performances of all
·5· ·they should be paid.                          ·5· ·those audiovisual works.· That would allow me
·6· · · · Q.· ·Are you aware of any such instance  ·6· ·to do that.· That was denied to me, okay, so
·7· ·in which this purported direct public         ·7· ·I could not do that.
·8· ·performance license to Viacom resulted in a   ·8· · · · Q.· ·So you're not aware sitting here
·9· ·nonpayment of the writer's share of public    ·9· ·today of any such instance?
10· ·performance fees to Aron and Robert?          10· · · · · · ·MR. MARDEROSIAN:· Same objection.
11· · · · · · ·MR. MARDEROSIAN:· Calls for         11· · · · It calls for speculation.· Incomplete
12· · · · speculation.· Incomplete hypothetical.   12· · · · hypothetical.
13· · · · A.· ·I go back to the extract that you   13· · · · A.· ·How am I going to be aware of an
14· ·provided to us.· What explains the fact that  14· ·instance of something that I don't have the
15· ·there was Bayham receiving all of this and    15· ·information to even determine?· I can't match
16· ·the writers not receiving it.                 16· ·a nonpayment to something that I don't have
17· · · · Q.· ·Okay.· Other than that, is there    17· ·the information on.
18· ·any other instance in which you're aware that 18· · · · Q.· ·So you're not aware of any such
19· ·the purported direct public performance       19· ·instance?
20· ·license to Viacom result in a nonpayment of   20· · · · A.· ·The only way I would be aware of it
21· ·public performance fees to Aron and Robert? 21· ·is to be aware of the actual performances.
22· · · · A.· ·When you --                         22· ·You're asking me to have watched television
23· · · · · · ·MR. MARDEROSIAN:· Objection.· Calls 23· ·full-time all of Viacom networks since 2010.
24· · · · for speculation.· Incomplete             24· ·That would be the only way to do it, for me
25· · · · hypothetical.                            25· ·to let you know of a particular instance
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·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·without having the TuneSat data.                ·2· · · · Q.· ·Okay.· If Viacom had a direct
·3· · · · Q.· ·So you're not aware of a single       ·3· ·public performance license, they also
·4· ·instance sitting here today?                    ·4· ·wouldn't have received the publisher's share
·5· · · · A.· ·That's correct.· But I suggest that   ·5· ·of public performance royalties for uses of
·6· ·Extreme is aware of it because it has the       ·6· ·the songs at issue on Viacom programming;
·7· ·data.                                           ·7· ·isn't that right?
·8· · · · Q.· ·And you speculated that Viacom or     ·8· · · · A.· ·BMI would have received the
·9· ·Extreme may have told BMI that Viacom has a     ·9· ·publisher's share?
10· ·direct public performance license and           10· · · · Q.· ·If Viacom had a direct public
11· ·therefore BMI doesn't need to pay the           11· ·performance license --
12· ·writer's share of public performance            12· · · · A.· ·Oh.· Okay.· Viacom.
13· ·royalties?                                      13· · · · Q.· ·Viacom also wouldn't have received
14· · · · A.· ·That's not my testimony.· I did not   14· ·any publisher's share of performance income
15· ·say that.                                       15· ·for programming on its network?
16· · · · Q.· ·You said that might have happened,    16· · · · A.· ·That's correct.
17· ·right, in that case that BMI wouldn't pay the   17· · · · Q.· ·Are you aware of any instance in
18· ·writer's share.· Wasn't that your testimony?    18· ·which Viacom didn't receive the publisher's
19· · · · A.· ·I didn't speculate on anything. I     19· ·share of public performance income as a
20· ·said that if BMI had received information       20· ·result of this purported direct public
21· ·that it could put into its systems, I mean      21· ·performance license that it received from
22· ·this is what I would say now, with respect to   22· ·Extreme?
23· ·a particular set of programs and a particular   23· · · · A.· ·I have not been provided with any
24· ·set of musical works, or I should say a         24· ·information as to what Viacom -- well, except
25· ·network that produces programs under their      25· ·for the extract, I'm not sure whether that
                                          Page 58                                              Page 60
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·agreement, then they wouldn't pay.              ·2· ·was Viacom or not now, what's in there. I
·3· · · · Q.· ·Are you aware of any such             ·3· ·have not received -- other than the extract
·4· ·communications?                                 ·4· ·that I have seen, no, I have not seen that.
·5· · · · A.· ·No.                                   ·5· · · · Q.· ·The fundamental predicate to what I
·6· · · · Q.· ·Okay.· If --                          ·6· ·just asked you is that Viacom as a
·7· · · · A.· ·Let me just take that back. I         ·7· ·copublisher is entitled to receive
·8· ·remember seeing in the file several letters     ·8· ·publisher's share of public performance
·9· ·that Extreme -- I believe that Extreme wrote    ·9· ·income from BMI; correct?
10· ·to a performance rights society, it might       10· · · · A.· ·Yes.
11· ·have been BMI, I'm just doing this from         11· · · · Q.· ·Including --
12· ·memory, that let BMI know that certain          12· · · · · · ·MR. MARDEROSIAN:· Well, actually,
13· ·catalogs of their works were subject to a       13· · · · in reality, the evidence --
14· ·direct performance license.· I don't know if    14· · · · · · ·MR. HWANG:· Just stop.
15· ·it was the Viacom network.· But I did see       15· · · · · · ·MR. MARDEROSIAN:· -- in the case is
16· ·that in the file.                               16· · · · that --
17· · · · Q.· ·Other than that, you're not aware     17· · · · · · ·MR. HWANG:· Just stop testifying.
18· ·of any such communications?                     18· · · · · · ·MR. MARDEROSIAN:· -- Extreme pays
19· · · · A.· ·Well, there might have been others    19· · · · Viacom.· BMI does not pay Viacom.· So
20· ·that I haven't seen.                            20· · · · your question is not consistent with the
21· · · · Q.· ·So you're not aware of any such       21· · · · evidence.· It misstates the evidence.
22· ·communications?                                 22· · · · It's an incomplete hypothetical.· It
23· · · · A.· ·I'm not aware.· I'm not aware of --   23· · · · comes from Extreme.· They administer,
24· ·none of those potential communications have     24· · · · they collect everything.· Your own
25· ·been brought to my attention.                   25· · · · 30(b)(6) witness Anita Chinkes said
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·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· · · · Q.· ·Weren't you concerned, then, if       ·2· · · · Q.· ·The question was --
·3· ·it's not in the extracts, that maybe somehow    ·3· · · · A.· ·And lots of questions are not
·4· ·meta data was bad and the Marderosians were     ·4· ·properly phrased, so I have to --
·5· ·not being paid on that song?                    ·5· · · · Q.· ·I know I'm not up to your
·6· · · · · · ·MR. MARDEROSIAN:· Objection.          ·6· ·standards, but I'll try.· So here we go.
·7· · · · Incomplete hypothetical.                   ·7· · · · · · ·You didn't look to see, having
·8· · · · Q.· ·You can answer.                       ·8· ·looked at the extract that you saw, there was
·9· · · · · · ·MR. MARDEROSIAN:· Calls for           ·9· ·Teenage Vamps was not listed, having looked
10· · · · speculation.                               10· ·at Exhibit 6, you saw that money was paid to
11· · · · A.· ·I was concerned when I didn't see     11· ·Extreme on Teenage Vamps, you didn't look at
12· ·it in the extracts because I understand that    12· ·the BMI statements to see were the
13· ·was supposed to cover all the songs.            13· ·Marderosians paid on Teenage Vamps; is that
14· · · · Q.· ·But when you went back --             14· ·right?
15· · · · A.· ·But, but I didn't go back in every    15· · · · · · ·MR. MARDEROSIAN:· Meaning did he do
16· ·occasion to look at whether something           16· · · · a comparison to see if the performance
17· ·appeared on a BMI.· If I did that throughout    17· · · · royalties supposedly reported by Extreme
18· ·the three months of my preparing the expert     18· · · · matched the performance royalties of
19· ·report, I would never have gotten it done.      19· · · · Aron and Robert's BMI statements for the
20· · · · Q.· ·And you saw on the other document,    20· · · · exploitation of Teenage Vamps?· Is that
21· ·which I think it was Katz 6, that we            21· · · · the question?
22· ·produced, that Extreme produced that it         22· · · · · · ·MR. ZAKARIN:· Read back my
23· ·reflected on Teenage Vamps that there was a     23· · · · question, not Mr. Marderosian's speech.
24· ·substantial amount of performance income that   24· · · · · · ·MR. MARDEROSIAN:· No.· Mine is the
25· ·Extreme received for Teenage Vamps; right?      25· · · · more accurate question.
                                         Page 110                                             Page 112
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·Isn't that what your testimony was a few        ·2· · · · · · ·MR. ZAKARIN:· Well, you can ask
·3· ·minutes ago?                                    ·3· · · · your questions.· This is my turn to ask
·4· · · · A.· ·There was -- on that list there was   ·4· · · · mine.
·5· ·-- it was very substantial.· I don't know       ·5· · · · · · ·(Record read.)
·6· ·whether it was performance, but I -- was it     ·6· · · · Q.· ·Simple question.
·7· ·performance or sync?                            ·7· · · · · · ·MR. MARDEROSIAN:· Mr. Zakarin, can
·8· · · · Q.· ·I think you testified it was          ·8· · · · you identify the amount of money you're
·9· ·performance.                                    ·9· · · · talking about that the Marderosians were
10· · · · A.· ·I said 34,000.                        10· · · · paid for Teenage Vamps?
11· · · · Q.· ·Okay.· So that was reported and       11· · · · Q.· ·You can answer my question.
12· ·identified in a document produced by Extreme    12· · · · A.· ·I was focused on what was not being
13· ·in this case; correct?                          13· ·paid on, not what was.· If I had to look and
14· · · · A.· ·Right.· But the point --              14· ·compare on everything that they were paid on,
15· · · · Q.· ·No, no.· I didn't ask you anything.   15· ·I'd never get the thing done.
16· ·All you need to say is "right," because that    16· · · · Q.· ·So you don't know one way or the
17· ·was the question asked.· We'll get out of       17· ·other whether they were paid on Teenage Vamps
18· ·here faster, or you will, not us, if you        18· ·by BMI; is that right?
19· ·answer my questions, not ones I didn't ask.     19· · · · A.· ·I have no recollection in my mind
20· ·Okay?                                           20· ·about that.
21· · · · A.· ·What's your question?                 21· · · · Q.· ·And you have no idea, then, whether
22· · · · Q.· ·Good.· If you pay attention, we'll    22· ·they were underpaid, overpaid, or paid on a
23· ·go through it.                                  23· ·comparable basis to what was received by
24· · · · A.· ·I've been paying attention very       24· ·Extreme; is that correct?
25· ·carefully.                                      25· · · · A.· ·Not on Teen -- not on --
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                                         Page 113                                             Page 115
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· · · · Q.· ·Teenage Vamps.                        ·2· · · · asked him a question.
·3· · · · A.· ·Not on Teenage Vamps, but on          ·3· · · · A.· ·Based on everything I've seen in
·4· ·Mulholland Drive --                             ·4· ·this case, I have asked for and I have not
·5· · · · Q.· ·That's the only question.· Did I      ·5· ·seen the royalty statements that Russell
·6· ·ask you about Mulholland Drive?                 ·6· ·Emanuel and under all of his aliases have
·7· · · · A.· ·I saw 60 pages of Mulholland Drive    ·7· ·received through ASCAP, PRS so I can make an
·8· ·promotional announcements that Bayham was       ·8· ·absolute determination which composers
·9· ·paid on, and they were not paid.· And when I    ·9· ·received those royalties.· And if you would
10· ·see 60 pages where Bayham is paid and are       10· ·show us those and be transparent about it,
11· ·clearly identified and associated with the      11· ·and perhaps Sony ATV might be very interested
12· ·plaintiffs and not in the BMI statements, the   12· ·in knowing whether that's the case, because
13· ·only thing I can imagine is that there are      13· ·if it turns out to be the case, we all have
14· ·other composers who were paid on those works.   14· ·problems.
15· ·That's what I was focused on.· Teenage Vamps    15· · · · Q.· ·Okay.· Now that you just finished
16· ·was just a matter of the fact that you          16· ·that long statement, the question was not
17· ·provided a report that didn't include it.       17· ·what you didn't see, what you didn't get to
18· · · · Q.· ·Is it possible you have a limited     18· ·see, whether you were entitled to see it.· My
19· ·imagination?                                    19· ·question was much simpler.
20· · · · A.· ·I think that's an insulting           20· · · · A.· ·I answered your question.
21· ·question.                                       21· · · · Q.· ·Then what was the speech for?
22· · · · Q.· ·I'll withdraw the question.· You      22· · · · A.· ·That was my answer.
23· ·just said the only thing that you can imagine   23· · · · Q.· ·I don't think I asked anything
24· ·is that there was some, you know, some change   24· ·relating to that.
25· ·in the data or it was misdirected; is that      25· · · · · · ·MR. ZAKARIN:· I have no further
                                         Page 114                                             Page 116
·1· · · · · · · · · R. Kohn                          ·1· · · · · · · · · R. Kohn
·2· ·right?                                          ·2· · · · questions.
·3· · · · A.· ·It's a figure of speech.· I said      ·3· · · · · · ·MR. MARDEROSIAN:· Thank you, Don.
·4· ·earlier --                                      ·4· · · · Are we done?
·5· · · · Q.· ·Oh.· It's a figure of speech when     ·5· · · · · · ·MR. HWANG:· Close it out.
·6· ·you say it's the only thing you can imagine.    ·6· · · · · · ·MR. MARDEROSIAN:· Same stipulation
·7· ·Let me just try it.· Other --                   ·7· · · · as we reached with the other experts
·8· · · · · · ·MR. MARDEROSIAN:· You're getting      ·8· · · · where I get the original, notify you of
·9· · · · argumentative, Don.· Argumentative.        ·9· · · · any changes.· We good with that?
10· · · · Q.· ·Are there other possibilities that    10· · · · · · ·MR. ZAKARIN:· Yes.
11· ·you could imagine, Mr. Kohn?                    11· · · · · · ·(Time noted:· 11:00 a.m.)
12· · · · · · ·MR. MARDEROSIAN:· He's not going to   12
13· · · · speculate.· He's not going to speculate.   13
14· · · · · · ·MR. ZAKARIN:· That's all he's done    14
15· · · · today.                                     15· · · · · · · · · · · ·____________________
16· · · · · · ·MR. MARDEROSIAN:· Incorrect.          16· · · · · · · · · · · ·ROBERT H. KOHN
17· · · · That's an argumentative and insulting      17
18· · · · statement.· And I object to that.          18· ·Subscribed and sworn to before me
19· · · · · · ·MR. ZAKARIN:· It's an accurate        19· ·this ___ day of __________, 2018.
20· · · · statement.                                 20
21· · · · A.· ·I would like to see, given what --    21· ·_________________________________
22· · · · · · ·MR. MARDEROSIAN:· It's based on the   22
23· · · · evidence that you've produced in the       23
24· · · · case.                                      24
25· · · · · · ·MR. ZAKARIN:· I understand.· I've     25
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                                            Page 117                                                  Page 119
·1                                                     ·1
·2· · · · · · · ·C E R T I F I C A T E                 ·2· ·Deposition
·3· ·STATE OF NEW YORK· · · · ·)                       ·3· ·EXHIBIT K-16· · · · · · · · · · · · ·80
·4· · · · · · · · · · · · : ss.                        ·4· ·Subextract taken from extract
·5· ·COUNTY OF WESTCHESTER· · ·)                       ·5· ·produced by Extreme, Exhibit 8 to
·6                                                     ·6· ·Katz Deposition
·7· · · · · · ·I, JOAN WARNOCK, a Notary Public        ·7· ·EXHIBIT K-17· · · · · · · · · · · · ·87
·8· · · · within and for the State of New York, do     ·8· ·Spread sheet produced by Extreme
·9· · · · hereby certify:                              ·9· ·setting forth performance value of
10· · · · · · ·That ROBERT H. KOHN, the witness        10· ·Aron and Robert's songs compared to
11· · · · whose deposition is hereinbefore set         11· ·other songs
12· · · · forth, was duly sworn by me and that         12· ·EXHIBIT K-18· · · · · · · · · · · · ·92
13· · · · such deposition is a true record of the      13· ·Six-page document beginning with
14· · · · testimony given by the witness.              14· ·Bates stamp Extreme 0083277,
15· · · · · · ·I further certify that I am not         15· ·Excerpts of Semiannual Statements
16· · · · related to any of the parties to this        16
17· · · · action by blood or marriage, and that I      17
18· · · · am in no way interested in the outcome       18
19· · · · of this matter.                              19
20· · · · · · ·IN WITNESS WHEREOF, I have hereunto     20
21· · · · set my hand this 8th day of November,        21
22· · · · 2018.                                        22
23                                                     23
24· · · · · · · · · · · ·_____________________         24
25· · · · · · · · · · · ·JOAN WARNOCK                  25

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·1                                                     ·1· · · · · DEPOSITION ERRATA SHEET
·2· ·------------------ I N D E X ----------------     ·2
·3· ·WITNESS· · · · · EXAMINATION BY· · · · ·PAGE      ·3· ·Our Assignment No.:· J3015335A
·4· ·R. Kohn· · · · · Mr. Hwang· · · · · · · · ·5      ·4· ·Case Caption:· Twelve Sixty LLC vs. Extreme
·5· · · · · · · · · · Mr. Marderosian· · · · · 78      ·5· ·Music Library Limited
·6· · · · · · · · · · Mr. Hwang· · · · · · · · 96      ·6
·7· · · · · · · · · · Mr. Zakarin· · · · · · ·106      ·7· · · ·DECLARATION UNDER PENALTY OF PERJURY
·8                                                     ·8
·9· ·------------ INFORMATION REQUESTS -----------     ·9· · · · · · ·I declare under penalty of perjury
10· ·DIRECTIONS:                                       10· ·that I have read the entire transcript of my
11· ·RULINGS:                                          11· ·Deposition taken in the captioned matter or
12· ·TO BE FURNISHED:                                  12· ·the same has been read to me, and the same is
13· ·REQUESTS:                                         13· ·true and accurate, save and except for
14· ·MOTIONS:                                          14· ·changes and/or corrections, if any, as
15                                                     15· ·indicated by me on the DEPOSITION ERRATA
16· ·------------------- EXHIBITS ----------------     16· ·SHEET hereof, with the understanding that I
17· ·DEFENDANTS'· · · · · · · · · · · · · FOR ID.      17· ·offer these changes as if still under oath.
18· · EXHIBIT K-13· · · · · · · · · · · · ·64          18· · · · · · · · · · · · _______________________
19· · Expert Report of Roger Miller                    19· · · · · · · · · · · · ·Robert H. Kohn
20· · EXHIBIT K-14· · · · · · · · · · · · ·73          20· ·Subscribed and sworn to on the ____ day of
21· · First Amended Complaint for Damages              21· ·___________, 20 ____ before me.
22· · and Demand for Jury Trial                        22· ·_______________________________
23· · EXHIBIT K-15· · · · · · · · · · · · ·79          23· ·Notary Public,
24· · Document Bates stamped Extreme                   24· ·in and for the State of
25· · 0006585, Exhibit 7 to Mr. Katz's                 25· ·_________________________.
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·1· · · · · DEPOSITION ERRATA SHEET
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22· ·Reason for change:___________________________
23
24· ·SIGNATURE:____________________DATE:__________
25· · · · · · · ·Robert H. Kohn

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22· ·Reason for change:___________________________
23
24· ·SIGNATURE:____________________DATE:__________
25· · · · · · · ·Robert H. Kohn
